         Case
          B104022-50542
                (FORM 1040) Doc  23
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          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Genever Holdings Corporation                                                   Bravo Luck Limited

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Neubert, Pepe & Monteith (c/o Patrick R. Linsey), 195  Troutman Pepper Hamilton Sanders LLP (c/o Francis J.
Church Street, New Haven, CT 06510, plinsey@npmlaw.com Lawall), 3000 Two Logan Square Eighteenth and Arch Streets,
                                                                               Philadelphia, PA 19103-2799, francis.lawall@troutman.com
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
First Claim: Declaration, pursuant to F.R.B.P. 7001(9), that the Purported Trust Agreement is
Invalid, Void, and Unenforceable; Second Claim (in the alternative): Avoidance of Actual Fraudulent
Transfer, pursuant to N.Y. Debtor & Creditor Law sec. 276 and Bk. Code secs. 544/548/550.
                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                         □ 65-Dischargeability - other
                                                                                □ 71-Injunctive relief – imposition of stay
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
    31-Approval of sale of property of estate and of a co-owner - §363(h)       □ 72-Injunctive relief – other
□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
Declaratory relief pursuant to F.R.B.P. 7001(9) or avoidance of fraudulent transfer
        B1040 22-50542
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                  BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                   BANKRUPTCY CASE NO.
Genever Holdings Corporation                                   22-50542 (JAM)
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Connecticut                                                            Bridgeport                        Manning, J.
                                        RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                         DEFENDANT                                              ADVERSARY
                                                                                                         PROCEEDING NO.
Luc Despins, Chapter 11 Trustee // Genever Holdings LLC   Bravo Luck Limited, et al.                     22-05027 (JAM); 22-05030 (JAM)
DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE
Connecticut                                                            Bridgeport                        Manning, J.
SIGNATURE OF ATTORNEY (OR PLAINTIFF)

        /s/ Patrick R. Linsey




DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                                       Patrick R. Linsey
             Dec. 23, 2022
                                                           INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

------------------------------------------------------x
                                                      :
In re:                                                :               Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :               Case No. 22-50073 (JAM)
                                                      :
                  Debtors.                            :               (Jointly Administered)
-----------------------------------------------------x
Genever Holdings Corporation,                         :
                                                      :
                                    Plaintiff.        :              Adv. Proceeding No. [_____]
v.                                                    :
                                                      :
Bravo Luck Limited,                                   :
                                                      :
                                    Defendant.        :              December 23, 2022
                                                      :
-----------------------------------------------------x

     GENEVER HOLDINGS CORPORATION’S ADVERSARY COMPLAINT AGAINST
         BRAVO LUCK SEEKING (I) INVALIDATION OF PURPORTED TRUST
    AGREEMENT IN FAVOR OF BRAVO LUCK AND, (II) IN ALTERNATIVE, RULING
      THAT GENEVER HOLDINGS CORPORATION EFFECTUATED FRAUDULENT
     TRANSFER IN FAVOR OF BRAVO LUCK PURSUANT TO SECTION 276 OF NEW
           YORK DEBTOR AND CREDITOR LAW, MADE APPLICABLE BY
                     SECTION 544 OF BANKRUPTCY CODE

         Genever Holdings Corporation (the “Plaintiff” or “Genever BVI”), debtor in the above

captioned jointly administered chapter 11 cases (the “Chapter 11 Cases” and Genever BVI’s case

the “Genever BVI Chapter 11 Case”) of Ho Wan Kwok (“Kwok”), brings this adversary




1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
     Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
     mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
     Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
     Wan Kwok (solely for purposes of notices and communications).
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complaint (the “Complaint”) against defendant Bravo Luck Limited (“Bravo Luck” or the

“Defendant”). 2

                                           NATURE OF ACTION

         1.       The Plaintiff commences this adversary proceeding to remedy Kwok’s attempt to

use subterfuge to keep valuable property out of the reach of creditors. Genever Holdings LLC

(“Genever US”), a company whose sole member is Genever BVI, of which Kwok was the sole

shareholder prior to the transfer of his interest to the Trustee following the Trustee’s

appointment, holds title to Kwok’s apartment at the Sherry Netherland Hotel in Manhattan (the

“Sherry Netherland Apartment”). 3 Kwok, however, when he was in control of Genever US and

Genever BVI (together, the “Genever Entities”)) and as part of his overarching strategy of using

shell companies to hide his assets and “judgment proof” himself against creditors’ claims, caused

Genever US to take the position that Bravo Luck, a company purportedly owned by Qiang Guo,

Kwok’s son (“Kwok’s Son”), is the true beneficial owner of the Genever Entities pursuant to a

purported trust agreement allegedly dated February 17, 2015 (the “Purported Trust Agreement”).

         2.       As an initial matter, the Purported Trust Agreement is a fraudulent, backdated

document as evidenced by voluminous evidence in the record of the Kwok Chapter 11 Case, the

Genever US Chapter 11 Case, and the prepetition litigation (the “State Court Action”) between

Pacific Alliance Asia Opportunity Fund L.P. (“PAX”) and Kwok in New York state court (the

2
  Luc A. Despins, in his capacity as the chapter 11 trustee (the “Trustee”) appointed in Kwok’s chapter 11 case (the
“Kwok Chapter 11 Case”), through his possession of 100% shares of Genever Holdings Corporation (sole member
of Genever US) has filed a similar complaint in the Kwok Chapter 11 Case, as did Genever US in the Genever US
chapter 11 case, which had previously been pending in the Southern District of New York [Case No. 20-12411
(JLG)] (the “Genever US Complaint” and the “Genever US Chapter 11 Case”). The Genever US Complaint was
filed out of an abundance of caution because the two-year statute of limitations set forth in section 546(a) of the
Bankruptcy Code, which may govern some of the claims asserted in the Genever US Complaint, would have expired
on October 12, 2022.
3
 Kwok’s residence at the Sherry Netherland technically consists of multiple units located on the 18th floor that for
ease of reference will be referred to collectively as the Sherry Netherland Apartment.


                                                          2
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“State Court”). Most notably, although the Purported Trust Agreement was allegedly executed

in 2015, Kwok did not produce the Purported Trust Agreement until April 2019, over four years

after its alleged execution, despite numerous instances in which it would have and should have

been disclosed had it existed, such as when PAX sought discovery regarding Kwok’s ownership

of the Sherry Netherland Apartment, and when Kwok argued the apartment could not be attached

by PAX because it was subject to pledges in favor of or was owned by third parties (other than

Bravo Luck). Because the Purported Trust Agreement is fraudulent, it is invalid, void, and

unenforceable.

         3.       In the alternative, even assuming the Purported Trust Agreement is valid, Genever

BVI (when controlled by Kwok) used the Purported Trust Agreement to effectuate a transfer of

its interest in Genever US with actual intent to hinder, delay or defraud creditors. The Plaintiff is

therefore entitled to a ruling declaring the Purported Trust Agreement invalid and avoiding any

conveyance of property or any incurrence of any obligation that occurred pursuant thereto. 4

                                                    PARTIES

         4.       Plaintiff Genever BVI is a debtor in the above-captioned Chapter 11 Cases.

         5.       Bravo Luck is an entity incorporated in the British Virgin Islands (“BVI”)

purportedly owned by Kwok’s Son. Bravo Luck has asserted that, pursuant to the Purported

Trust Agreement, it is the beneficial owner of the Sherry Netherland Apartment, title to which is

held by Genever US. Bravo Luck has asserted this beneficial ownership claim (as well as an

alternative unsecured claim of approximately $76 million based on Bravo Luck having allegedly




4
 See N.Y. Debt. & Cred. Law § 276 (McKinney) (“Every conveyance made and every obligation incurred with
actual intent, as distinguished from intent presumed in law, to hinder, delay, or defraud either present or future
creditors, is fraudulent as to both present and future creditors.”) (emphasis added).


                                                          3
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paid for the Sherry Netherland Apartment) in its proof of claim filed in the Genever US Chapter

11 Case [Claim No. 4-1] (the “Bravo Luck Proof of Claim”).

        6.      Kwok’s Son is the purported owner of Bravo Luck.

                                                  FACTS

        A.      Kwok’s Shell Game

        7.      As established in the State Court Action, Kwok’s modus operandi for years has

been to use family members and shell companies to shield his assets from creditors. The State

Court accurately referred to Kwok’s asset protection strategy as a “shell game” numerous times

in hearings and written decisions and orders in the State Court Action.

        8.      Kwok’s shell game has allowed him to continue, up to this day, to deny having

any assets and refuse to pay his debts to creditors while simultaneously (1) enjoying all the

benefits of massive wealth, such as yachts, private planes, and luxury cars and lodging; (2)

spending millions of dollars on the attorneys’ fees necessary to litigate against PAX, the Trustee,

and numerous other parties; and (3) engaging in his daily business of peddling disinformation,

conspiracy theories, and cryptocurrency schemes. 5

        9.      The aspect of Kwok’s shell game most critical to this adversary proceeding (i.e.,

Kwok’s use of Bravo Luck to shield the Sherry Netherland Apartment from creditors), is only

one example of Kwok’s massive abuse of the corporate form to judgment-proof himself and

keep creditors at bay. Kwok has, upon information and belief, established numerous, potentially


5
  See, e.g., Friedman, Dan. “A Fugitive Chinese Tycoon Met Steve Bannon. Misinformation Mayhem Ensued.”
Mother Jones, March-April 2022, https://www.motherjones.com/politics/2022/02/guo-wengui-miles-guo-gettr-
steve-bannon/; Whalen, Jeanne, et al. “Chinese Businessman with Links to Steve Bannon Is Driving Force for a
Sprawling Disinformation Network, Researchers Say.” The Washington Post, 17 May 2021,
https://www.washingtonpost.com/technology/2021/05/17/guo-wengui-disinformation-steve-bannon/; Hui, Echo, and
Hagar Cohen. “After John Left a Conspiracy-Sharing Group, the Billionaire Founder Told Followers He 'Deserved
to Die'.” ABC News, 1 Nov. 2020, https://www.abc.net.au/news/2020-11-01/behind-the-scenes-of-the-guo-and-
bannon-led-propaganda-machine/12830824/.


                                                     4
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hundreds, of entities (including many, like Bravo Luck, in off-shore jurisdictions such as BVI),

that he uses to hold or transfer property so that he can avoid liability and protect assets from

creditors. To the extent Kwok has caused these entities to acquire assets, the funds used for such

acquisitions belonged to Kwok.

           10.      Certain of Kwok’s important shell companies include, in addition to Bravo Luck:

                    a)      Golden Spring (New York) Ltd (“Golden Spring”). Golden Spring is a
                            Delaware entity that pays Kwok’s expenses so Kwok can live in luxury
                            while claiming to own no assets and earn no income.

                                     (1)     Purportedly owned indirectly by Kwok’s Son, 6 Golden
                                             Spring was established and funded by Kwok through a
                                             transfer of funds from one of his bank accounts in Hong
                                             Kong to the bank account of Golden Spring in New York in
                                             2015. 7 There is no evidence in the record regarding how
                                             Kwok’s son, born in February 1987 and thus 27 or 28 years
                                             old in 2015, could have had the independent financial
                                             means to establish and fund Golden Spring (or any other
                                             entities he is purported to own) himself. 8

                                     (2)     A court order issued in Hong Kong on October 18, 2018,
                                             titled the Restraint Order Prohibiting Disposal of Assets In
                                             Hong Kong and Elsewhere (the “Hong Kong Restraint
                                             Order), identified Golden Spring’s parent company, China
                                             Golden Spring Group (Hong Kong) Limited, as one of a
                                             number of entities whose bank accounts were “subject to
                                             the effective control of Kwok.” 9




6
 See, e.g., Ex. 1, Wang Dep. Tr. at 18:17-18 (testimony that Golden Spring 100% owned by China Golden Spring
(Hong Kong)); 17:3-4 (describing Kwok’s Son as owner of “Golden Spring”).

7
  In a 2016 affidavit filed in the New York Supreme Court in connection with Ace Decade’s litigation against UBS,
Kwok stated that Golden Spring was established “by transferring funds from one of my accounts at UBS to Golden
Spring New York’s JPMorgan Chase bank account in New York.” Ex. 2, Affidavit of Kwok Ho Wan, dated
February 5, 2016, in Ace Decade Holdings Limited vs. UBS AG, Index No. 653316/2015 (N.Y. Sup. Ct.) at ¶ 36.
8
    See Ex. 104, Copy of Passport.

9
    Ex. 3, Hong Kong Restraint Order ¶ 3, Respondent 22.


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                                     (3)       Kwok has testified that Golden Spring has been paying his
                                               living expenses since 2015. 10 Golden Spring has also been
                                               paying the fees of Kwok’s counsel and millions of dollars
                                               of maintenance fees associated with the Sherry Netherland
                                               Apartment, among other payments.

                                     (4)       Golden Spring’s president, Yan Ping (“Yvette”) Wang
                                               (“Ms. Wang”) has testified that Golden Spring is Kwok’s
                                               “family office.” 11 She has also testified that in her capacity
                                               as president of Golden Spring she “serve[d] as an
                                               administrator for the interests of [Kwok] and his family.” 12

                                     (5)       At the same deposition, Ms. Wang could not identify a
                                               single person who worked at Golden Spring prior to
                                               February 2018, except for Kwok’s personal chauffeur, nor
                                               could she identify any business purpose of Golden Spring
                                               other than that of serving as Kwok’s “family office” and
                                               starting Kwok’s social media platform. 13

                                     (6)       During the State Court Action, Golden Spring’s counsel
                                               appeared at depositions for Kwok, and Kwok’s counsel
                                               represented Ms. Wang, president of Golden Spring, in
                                               connection with her deposition. 14

                                     (7)       Golden Spring’s address at 162 East 64th Street, New
                                               York, New York 10065 has been used as the address of
                                               Kwok and numerous affiliated entities, including HK USA
                                               (defined below) and Greenwich Land LLC. 15

10
  See Ex. 4, Tr. of Telephonic 341 Meeting of Creditors, dated April 6, 2022 at 85:17-19. See also Ex. 5, Letter
from Melissa M. Carvalho, dated February 1, 2021 at ¶ 8. (“Mr. Kwok responds that his expenses during the
relevant time period have been paid for by Golden Spring (New York) Ltd.”).

 Ex. 6, Wang Dep. Tr. at 20:10-16 (Q: “What business is Golden Spring Hong Kong in? A: Family office. Q:
11

Whose family? A: The Guo family. Q: Mr. Kwok’s family? A: Yes.).

12
   Id. at 46:20-23 (“Q: I’m asking you whether or not you serve as an administrator for Mr. Kwok's interests? A:
Yes.”) (emphasis added). See also Ex. 7, May 15, 2018 Affidavit of Yan Ping Wang in PAX v. Kwok, Index No.
652077/2017 (N.Y. Sup. Ct.) (ECF 182) at ¶ 1. (“I am the President of Golden Spring (New York) Ltd., and in that
capacity serve as an administrator for the interests of [Kwok] and his family.”).

13
     See Ex. 6, Wang Dep. Tr. at 39:20-40:8.

14
  See Ex. 8, Kwok Dep. Tr. at 8:8-9 (“Karin Maistrello, Golden Spring, for Defendant”); Ex. 6, Wang Dep. Tr. At
6:9-11 (Jillian Searles identified by Ms. Wang as her attorney after entering an appearance “for defendant Kwok Ho
Wan”).
15
   See, e.g., Ex. 9, Limited Liability Company Agreement of HK International Funds Investments (USA) Limited,
LLC, dated April 1, 2019; Ex. 106, Greenwich Land LLC Real Property Tax Assessor Record, dated July 15, 2021.


                                                          6
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                                      (8)      Ms. Wang, president of Golden Spring, is the authorized
                                               signatory on official documents filed with courts and
                                               administrative agencies by multiple of Kwok’s shell
                                               companies. 16

                    b)       Lamp Capital LLC (“Lamp Capital”). Lamp Capital is a Delaware
                             entity, 17 purportedly owned by Kwok’s Son, 18 that also contributes to the
                             payment of Kwok’s expenses so that he can maintain his lifestyle while
                             claiming to own no assets and earn no income.

                                      (1)      Lamp Capital’s sole member is Infinity Treasury
                                               Management, Inc., 19 of which Kwok’s Son is the purported
                                               sole shareholder, Kwok’s associate Max Krasner is director
                                               and officer, 20 and Kwok’s associate Daniel Podhaskie is a
                                               former director and officer. 21

                                      (2)      Mr. Podhaskie is or was an authorized signatory for Lamp
                                               Capital. 22

                                      (3)      Corporate filings related to Lamp Capital LLC were
                                               handled by Hodgson Russ LLP, counsel to Kwok in the
                                               State Court Action. 23

16
   See e.g., Ex. 10, Verified Complaint, Genever Holdings, LLC v. Sherry-Netherland, Inc., 16-cv-06246 (S.D.N.Y.
Aug. 5, 2016), ECF No. 1; Ex. 29, Himalaya Coin Certificate of Assumed Name, dated March 14, 2020, at 1 of 2,
and Ex. 30, Himalaya Dollar Certificate of Assumed Name, dated March 14, 2020, at 1 of 2.

17
     See Ex. 12, Certificate of Incorporation of Lamp Capital LLC, dated Sept. 4, 2020 at 1.

18
     Ex. 4, Tr. of Telephonic 341 Meeting of Creditor, at 50:6-7.

19
     Ex. 13, Limited Liability Company Agreement of Lamp Capital, LLC, dated September 8, 2020.

20
  See Ex. 14, Infinity Treasure Management Unanimous Consent. Mr. Krasner’s other roles have included, among
others, serving as representative of Greenwich Land in connection with certain property transactions, as incorporator
of GTV Media Group, Inc. (a subsidiary of Saraca), and as president, treasurer, and director of the Rule of Law
Foundation III Inc., a purported nonprofit entity linked to Kwok. See Ex. 15, Greenwich Land Warranty Deed,
dated April 26, 2022, at 212; Ex. 16, GTV Media Group Certificate of Incorporation, dated April 17, 2020, at 2; Ex.
17, Rule of Law Foundation III Inc. Certificate of Incorporation, dated January 11, 2019, attached Certificate of
Correction.
21
   See Ex. 14, Infinity Treasure Management Unanimous Consent at 1. Mr. Podhaskie’s other roles have included,
among others, serving as Kwok’s personal attorney, general counsel to Golden Spring, and corporate representative
for purposes of Rule 30(b)(6) with respect to Genever US and Genever BVI. See, e.g., Ex. 4, Tr. of Telephonic 341
Meeting of Creditors, dated April 6, 2022 at 79:2-3 (Kwok stating that Podhaskie “used to be Golden Spring
attorney and my personal attorney.”); Ex. 18, Podhaskie Dep. Tr. at 8:8-9:1 (Podhaskie appearing as corporate
representative of Genever US and Genever BVI).
22
  See, e.g., Ex. 19, Application for Authority of Lamp Capital LLC, dated Sept. 11, 2020, at 4, filed with the State
of New York (signed by Podhaskie).


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                                     (4)      Lamp Capital purportedly “loaned” Kwok $1 million,
                                              which was then remitted directly to Brown Rudnick LLP
                                              (“Brown Rudnick”), Kwok’s former bankruptcy counsel, as
                                              a retainer. 24

                    c)       Greenwich Land LLC (“Greenwich Land”). Greenwich Land, a
                             Delaware entity purportedly owned by Kwok’s wife, owns Kwok’s
                             residence on Taconic Road (the “Taconic Road Residence”) in Greenwich,
                             Connecticut.

                                     (1)      Greenwich Land was organized in 2019 by a partner at the
                                              law firm of Hodgson Russ, which at the time represented
                                              Kwok in the State Court Action. 25

                                     (2)      On or about April 26, 2022, in a transfer that was never
                                              disclosed to this Court (and despite the restraining notice
                                              PAX had served on Greenwich Land in May 2021 26),
                                              Greenwich Land sold a second property, on Ferncliff Road
                                              in Cos Cob, Connecticut, which it had previously owned. 27
                                              The authorized signatory for Greenwich Land on the
                                              warranty deed in connection with the transfer is Max
                                              Krasner, who, as noted above, is an associate of Kwok with
                                              a number of roles at Kwok-affiliated entities. 28


23
     Id. (attached Application for Authority filed by Courtney L. Scanlon of Hodgson Russ LLP).

24
  See Application of the Debtor for Entry of an Order Authorizing the Employment and Retention of Brown
Rudnick LLP as Counsel for the Debtor, Docket No. 86, at ¶ 17; Ex. 4, Tr. of Telephonic 341 Meeting of Creditors,
dated April 6, 2022 at 49: 22-24. At his April 6, 2022 Section 341 meeting, Kwok testified that this loan was not in
writing and that he did not know the terms of the loan, why the money had been lent, or what the source of the
money was. Id. at 49-51.
25
   Hodgson Russ attorneys also assisted Kwok with, among other things, the formations of Saraca and Lamp Capital,
as well as other corporate filings on behalf of Golden Spring. See Ex. 20, Saraca Media Group Inc. Certificate of
Incorporation, dated May 31, 2018 (signed by Courtney Scanlon); Ex. 21, Certificate of Incorporation of Lamp
Capital LLC, dated September 4, 2020 (signed by Valerie E. Stevens); Ex. 22, Biennial Statement of Golden Spring,
filed October 16, 2018 (signed by Courtney Scanlon).

26
     Ex. 103, Restraining Notice.

27
     Ex. 15, Greenwich Land Warranty Deed, dated April 26, 2022.

28
   Id. See FN 23. At Kwok’s first 341 meeting, counsel for the United States Trustee, Holley Claiborne, asked
Kwok twice who Mr. Krasner was, and Kwok first said he did not know, then failed to respond. Ex. 23, Tr. of
Telephonic 341 Meeting of Creditors, dated March 21, 2022 at 51:7-12. When Ms. Claiborne asked Kwok to
answer the question, Kwok’s counsel Mr. Baldiga conferred with Kwok despite Ms. Claiborne stating that she
“would rather he would answer the question before you make a confer.” Id. at 13:18. Kwok then said he had
difficulty with English names and that he did know a “Max” at Golden Spring though not his last name. Id. at 51-
52.


                                                          8
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                                   (3)      Greenwich Land’s address at 162 East 64th Street, New
                                            York, New York 10065 has been used as the address of
                                            Kwok and numerous affiliated entities, including Golden
                                            Spring and HK USA. 29

                 d)       HK International Funds Investments (USA) Limited, LLC (“HK
                          USA”). HK USA is an entity, purportedly owned by Kwok’s daughter,
                          Mei Guo, that holds title to Kwok’s 150-foot yacht, the Lady May, thus
                          allowing Kwok to enjoy the yacht while claiming not to own it.

                                   (1)      In the State Court Action, the State Court made findings
                                            that, among other things, the Lady May was beneficially
                                            owned and controlled by Kwok.

                                   (2)      In Adversary Proceeding 22-05003 (the “HK USA
                                            Adversary Proceeding”), HK USA has asserted, despite the
                                            State Court’s findings in the State Court Action (preclusive
                                            as to HK USA), that the Lady May is not property of the
                                            estate because it is owned by HK USA.

                                   (3)      The Trustee’s answer and counterclaims filed in the HK
                                            USA Adversary Proceeding assert, among other things, that
                                            HK USA is the alter ego of Kwok and that the Lady May
                                            was received by HK USA pursuant to an actual fraudulent
                                            transfer effectuated by Kwok to protect the Lady May from
                                            creditors.

                                   (4)      HK USA’s expenses (including its legal fees) have been
                                            paid for by Golden Spring and Lamp Capital, entities that,
                                            as noted above, are purportedly owned by Kwok’s Son and
                                            that also pay for Kwok’s attorneys’ fees and living
                                            expenses.

                                   (5)      HK USA has no income, bank account, directors, officers,
                                            or employees. HK USA has also shared an address with
                                            Kwok and other Kwok-linked entities. Kwok and HK USA
                                            currently are represented by the same counsel, and, even
                                            when Kwok was represented by separate chapter 11
                                            counsel (Brown Rudnick), the attorneys representing
                                            Kwok, HK USA, and Golden Spring operated as essentially
                                            one legal team. 30

29
  See, e.g., Initial Petition (defined below); Ex. 9, Limited Liability Company Agreement of HK International Funds
Investments (USA) Limited, LLC, dated April 1, 2019, at 3(a).

 See, e.g., Ex. 24, email from Stephen Kindseth to Russell Stockil, CCing Max Krasner and Aaron Mitchell, dated
30

April 9, 2022; Ex. 25, Email from Stephen Kindseth to Craig Jalbert, CCing Melissa Francis, dated April 17, 2022.


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                   e)       Eastern Profit Corporation (“Eastern”). Eastern is a Hong Kong entity,
                            purportedly owned by Kwok’s daughter, 31 that Judge Liman of the U.S.
                            District Court of the Southern District of New York, in his 2021 decision
                            in the case of Eastern Profit Corp. v. Strategic Vision US LLC (the
                            “Liman Decision”), found to be, “in essence, a shell corporation” for
                            Kwok 32 allegedly used to “protect his confidentiality and anonymity.” 33

                                    (1)       The subject of the Liman Decision was a January 2018
                                              agreement, purportedly between Eastern and Strategic
                                              Vision US LLC (the “Strategic Vision Agreement”), that
                                              was signed on behalf of Eastern by Yvette Wang (president
                                              of Golden Spring). But Ms. Wang did not sign her own
                                              name, instead she forged the signature of another associate
                                              of Kwok’s, Han Chunguang 34 (upon information and
                                              belief, Kwok’s driver, bodyguard, and cook), 35 who had
                                              purportedly owned Eastern prior to transferring purported
                                              ownership of Eastern to Kwok’s daughter for no apparent
                                              consideration in 2017. 36

                                    (2)       Judge Liman observed that, at the time Eastern entered into
                                              the Strategic Vision Agreement, Eastern was “essentially a
                                              defunct entity” with “no assets other than . . . $80,000
                                              frozen in a Hong Kong bank account,” and “no operations
                                              and no employees.” 37 Further, analogously to HK USA
                                              and other shell companies, Eastern’s location “was in the




31
  Eastern Profit Corp. Ltd. v. Strategic Vision US LLC, No. 18-CV-2185 (LJL), 2021 WL 2554631 at *4 (Kwok’s
daughter “is now the owner and sole director of Eastern.”).
32
     Id. at *3.

33
  Id. at *23-24 (“During negotiations, [Kwok] requested that, to protect his confidentiality and anonymity, he would
not sign or be a party to the Agreement but that a separate entity would sign and be a party.”).

34
     Upon information and belief, Han Chunguang’s name is also spelled “Han Changuang.”

35
  Han Chunguang’s name was spelled (incorrectly, upon information and belief) “Han Changhui” in Judge Liman’s
published decision. Han Chunguang is listed on the Hong Kong Restraint Order as an individual whose bank
accounts were subject to Kwok’s control. See Ex. 3, Hong Kong Restraint Order ¶ 3, Respondent 25.

36
  Liman Decision at *25 (“Although . . . Han was the ostensible owner of Eastern, it has now been transferred to
[Kwok’s daughter] but Han could not testify that he received anything in exchange. Eastern is a shell for [Kwok]
and his family.”) (internal citations omitted). Id. at *4 (“Prior to 2017, the owner and sole director of Eastern was an
individual named Han [Chunguang] (‘Han’). In 2017, Han transferred ownership and control to [Kwok’s daughter]
who was a friend of Han’s and who is now the owner and sole director of Eastern.”).

37
     Id. at *25.


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                                               offices of [Kwok’s] family company in Hong Kong and its
                                               sole director was [Kwok’s] daughter.” 38

                                      (3)      Judge Liman also found that testimony from Ms. Wang and
                                               Mr. Han with respect to Mr. Han’s role in connection with
                                               the Strategic Agreement was “an after-the fact creation to
                                               make it appear that Eastern was an entity, separate from
                                               [Kwok].” 39

                                      (4)      Judge Liman inferred, with respect to the Strategic
                                               Agreement, that “[Kwok] told Wang to provide the name
                                               Eastern to Strategic and to sign Han’s name to the
                                               Agreement. If there was any conversation between Wang
                                               and Han, it was perfunctory, to confirm the arrangement
                                               that [Kwok] had already made and directed.” 40

                                      (5)      According to testimony elicited at the hearing held in
                                               connection with the Liman Decision, Kwok introduced Mr.
                                               Han (the purported owner of Eastern) as his cook, referring
                                               to him as “Little Han,” 41 and introduced Ms. Wang as his
                                               servant and assistant. 42 There was also testimony that Ms.
                                               Wang described Kwok as her “boss.” 43




38
     Id. at *25-26.

39
     Id. at *24-25.

40
     Id. (emphasis added).

41
   Ex. 26, Trial Tr. at 768:4-12, Eastern Profit Corp. Ltd. v. Strategic Vision US LLC, No. 18-CV-2185 (LJL)
(S.D.N.Y) ECF No. 368 (April 22, 2021).

42
  Ex. 27, Trial Tr. at 142:12-19, Eastern Profit Corp. Ltd. v. Strategic Vision US LLC, No. 18-CV-2185 (LJL)
(S.D.N.Y) ECF No. 362 (April 19, 2021) (“Q. Did he introduce [Ms. Wang] in any way -- let me ask you this. What
did he introduce her as? A. Well, originally as his assistant. Q. Did he say anything else about what she did for him?
A. He said that she did, you know, what personal assistants do and -- but he sent her from the room.”). Ex. 28, Trial
Tr. at 248-249, Eastern Profit Corp. Ltd. v. Strategic Vision US LLC, No. 18-CV-2185 (LJL) (S.D.N.Y) ECF No.
362 (April, 19, 2021) (“Q. Did [Kwok] come to introduce [Ms. Wang] at a particular meeting at some point? A. At
the first meeting, he just referred to her as like a servant. In the second meeting, he introduced her as his assistant.”).

43
   Ex. 27, Trial Tr. 142-143 (“Okay. Now, I'm going to ask you what Yvette Wang told you about her role. So what
did Yvette Wang tell you was her role with respect to this contract? A. Well, first of all, she said: [Kwok] is my
boss. I am project manager, and I will be handling this project moving forward.”); id. (“Did she have any name for
[Kwok] or any term she used to describe him? Yes. She called him chief. She gave him some military ranks. She
called him the boss.”).


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                                     (6)     The Hong Kong Restraint Order identified Eastern as the
                                             purported holder of a bank account that was “subject to the
                                             effective control” of Kwok. 44

                   f)       Saraca Media Group, Inc. (“Saraca”). Saraca is a Delaware entity,
                            purportedly owned by Kwok’s Son, 45 that Kwok has used to engage in,
                            among other things, the sale of purported cryptocurrencies.

                                     (1)     Saraca shares the same address as Golden Spring, 46 and
                                             Golden Spring’s president, Ms. Wang, is an authorized
                                             signatory on Saraca official documents. 47

                                     (2)     Saraca is the registered owner with the United States Patent
                                             and Trademarks Office of the marks “Miles Kwok,” “Miles
                                             Guo,” and “Guo Wengui.” 48

                                     (3)     In September 2021, the Securities and Exchange
                                             Commission (“SEC”) issued a cease and desist order
                                             ordering that Saraca and its subsidiary GTV Media Group,
                                             Inc. (“GTV”) cease violations of the securities laws in
                                             connection with purported sales of GTV stock and G-Coin
                                             and G-Dollar cryptocurrencies, which had “raised
                                             approximately $487 million from more than 5,000
                                             individuals.” 49 The Office of the Attorney General of the
                                             State of New York took similar action against Saraca and
                                             GTV. 50

44
     Ex. 3, Hong Kong Restraint Order ¶ 3, Respondent 16.
45
  Ex. 4, Tr. of Telephonic 341 Meeting of Creditors, dated April 6, 2022 at 108:12-13 (“Q: Who owns Saraca? A:
My son.”).

46
     See Ex. 11, Saraca Media Group Inc. OpenGovNY New York State corporate registry search results.

 See, e.g., Ex. 29, Himalaya Coin Certificate of Assumed Name, dated March 14, 2020, and Ex. 30, Himalaya
47

Dollar Certificate of Assumed Name, dated March 14, 2020.

 Ex. 31, United States Patent and Trademark Office Registry Pages for Miles Guo, Miles Kwok, Guo Wengui, and
48

Guo Media.
49
  See In the Matter of Gtv Media Group, Inc., Saraca Media Group, Inc., and Voice of Guo Media, Inc.,
Respondents, Release No. 10979, 2021 WL 4149064, at ¶ 1, 5 (Sept. 13, 2021) (finding that companies that GTV,
Saraca, and Voice of Guo Media, Inc. violated the Securities Act in connection with “solicit[ing] thousands of
individuals to invest in an offering of GTV common stock” and “solicit[ing] individuals to invest in their offering of
a digital asset security that was referred to as either G-Coins or G-Dollars,” thus allowing these companies to
“collectively raise[] approximately $487 million from more than 5,000 investors, including individuals in the United
States, through approximately July 2020”).

50
  Ex. 32, Assurance of Discontinuance, Assurance No. 21-062, In the Matter of Investigation by Letitia James,
Attorney General of the State of New York, of GTV Media Group, Inc., and Saraca Media Group, Inc.

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                                    (4)      Saraca is also involved in Kwok’s more recent
                                             cryptocurrency scheme of promoting and selling “Himalaya
                                             Coin” and “Himalaya Dollar” (also known as “H-Coin” or
                                             “H-Dollar”).

                                    (5)      Saraca registered “Himalaya Coin” and “Himalaya Dollar”
                                             as its assumed names in the State of New York, using
                                             filings signed by Ms. Wang, president of Golden Spring. 51

                                    (6)      As of 2019, Saraca’s president and director was reportedly
                                             Han Chunguang, the same individual alleged to be Kwok’s
                                             driver, bodyguard, and cook who transferred Eastern Profit
                                             Corporation to Kwok’s daughter for no apparent
                                             consideration in 2017. 52

                   g)       Ace Decade Holdings Limited (“Ace Decade”). Ace Decade is a BVI
                            entity Kwok acquired to use as an intermediary entity in connection with
                            the failed 2015 securities transaction that generated Kwok’s lawsuits
                            against UBS. Kwok used Ace Decade to avoid disclosure requirements
                            that would have arisen had Kwok purchased the securities directly. 53

                                    (1)      Kwok acquired Ace Decade in November 10, 2014 and on
                                             the same day appointed one of his employees, Yu Yong
                                             (“Ms. Yu”) as the sole director and nominee shareholder. 54

                                    (2)      Kwok allegedly appointed Ms. Yu to these roles based on
                                             the alleged advice of his banker at UBS, who suggested the
                                             use of an intermediary entity to avoid disclosure
                                             requirements. 55


51
     See Ex. 29, Himalaya Coin Certificate of Assumed Name; Ex. 30, Himalaya Dollar Certificate of Assumed Name.

52
  Swan, Jonathan, et al. “Exclusive: Steve Bannon’s $1 million deal linked to a Chinese Billionaire,” AXIOS, 29
Oct. 2019, https://www.axios.com/2019/10/29/steve-bannon-contract-chinese-billionaire-guo-media (“Guo Media is
owned by Saraca Media Group, a company incorporated in Delaware, according to the contracts. Per a March 2019
tax filing, the president and director of Saraca was an individual named Han Chunguang.”).
53
  Ex. 2, Affidavit of Kwok Ho Wan at ¶¶ 13-14 (“UBS advised that . . . if I invested through Ace Decade directly,
applicable disclosure requirements would require certain filings [and] advised that if I invested through an
intermediary entity, with the intermediary entity holding legal title to the Shares, no such disclosure would be
required.”).

54
   Ex. 33, Particular of Claims, Kwok Ho Wan & Ors. v. UBS, Cl-2020-000345, ¶ 24, High Court of Justice of
England and Wales Queen’s Bench Division Commercial Court, dated September 23, 2020 (“UK Complaint”).
55
   Id. at ¶ 24 (“Ace Decade was acquired on 10 November 2014 by Mr Kwok for the purpose of acting as the said
investment vehicle. On the same day, on the advice of Mr Wong, an employee of Mr Kwok, Ms Yu Yong (“Ms
Yu”) became its nominee shareholder and director.”).


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                                     (3)      The Hong Kong Restraint Order identified Ace Decade as
                                              the purported holder of a bank account that was “subject to
                                              the effective control” of Kwok. 56

                                     (4)      Kwok stated he owned Ace Decade in his signed complaint
                                              filed in the United Kingdom against UBS and at his section
                                              341 meeting of creditors held on April 6, 2022, only to
                                              subsequently reverse course at the September 30, 2022
                                              hearing and dispute, through his counsel, his ownership of
                                              Ace Decade, claiming (incredibly) that each of his
                                              admissions was the result of a translation error. Kwok then
                                              changed his position on this question again, conceding on
                                              November 17, 2022 that he “exclusively beneficially
                                              owned and controlled [Ace Decade] on the February 15,
                                              2022 petition date [] and maintained such exclusive
                                              beneficial ownership and control up to and including
                                              immediately prior to the date of the Trustee’s
                                              appointment.” 57

                     h)     Well Origin Limited (“Well Origin”). Well Origin is a BVI entity
                            owned by Kwok that was formed as a “special purpose vehicle” to own a
                            private jet, an Airbus 319 (the “Aircraft”). 58

                                     (1)      In 2014, Well Origin entered into a $50 million loan
                                              agreement with UBS AG (“UBS”) to “refinance the
                                              Aircraft purchase price” as well as a related aircraft
                                              mortgage agreement. 59 In addition, Kwok entered into a
                                              related guarantee agreement with UBS. UBS was also
                                              granted a security interest in Well Origin’s shares. 60

                                     (2)      Subsequently, UBS foreclosed on its security interest in the
                                              shares of Well Origin, took control of Well Origin, and
                                              notified Kwok that it was going to sell the Aircraft. 61



56
     Ex. 3, Hong Kong Restraint Order ¶ 3, Respondent 18.

57
     Order Regarding Partial Resolution of Trustee’s Contempt Motion, Docket No. 1110, at ¶ 1.

58
  Ex. 34, Petition at ¶ 7, Kwok How Wan v. UBS AG, et al., Index No. 152025/2019 (N.Y. Sup. Ct.) Doc. No. 1.
The capacity of a normal airline A319 is approximately 150 passengers.

59
     Id. ¶¶14-16.

60
     Id. ¶ 15.

61
     Id. ¶¶ 22-24.


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                                     (3)      In an action filed in February of 2019, Kwok sought to
                                              enjoin the sale, asserting that he was the “Aircraft’s true
                                              beneficial owner,” 62 and that the Aircraft was “unique,”
                                              “personal,” and “specific to him. 63 The court rejected
                                              Kwok’s request for an injunction, pointing out that Kwok
                                              was asserting rights under an aircraft mortgage agreement
                                              that he had not signed. 64

                                     (4)      With respect to Well Origin, Kwok looked past the
                                              corporate form and asserted he was the true beneficial
                                              owner of the Aircraft because it suited him to do so (given
                                              that UBS had taken control of Well Origin).

                    i)      Numerous Other Shell Companies: It is likely that the entities discussed
                            in this Complaint comprise only a small number of what are reportedly
                            hundreds of shell companies controlled by Kwok. 65 The reported
                            existence of such a large number of shell companies is supported by the
                            fact that in the Hong Kong Restraint Order Kwok was determined to
                            effectively control financial accounts purportedly held by over two dozen
                            entities and individuals, including certain of the entities already mentioned
                            herein, including Bravo Luck and Ace Decade. 66



62
  Ex. 35, Memorandum Of Law In Support Of His Request For A Temporary Restraining Order And Preliminary
Injunction at 2, Kwok v. USB AG et al, Index No. 152025/2019 (N.Y. Sup. Ct.), NYSCEF Doc. No. 15 (February 25,
2019) (“Moreover, the Aircraft’s true beneficial owner – Kwok – has been an outspoken critic of the Chinese
government and Chinese Communist Party (“CCP”) and Kwok has personally exposed massive corruption within
the CCP that has resulted in the Chinese government and CCP stopping at no expense to seize any property and
asset either directly or indirectly related to Kwok.”). See also id. at 1 (“UBS, in blatant contravention of the terms of
the mortgage, is wrongfully trying to sell the Aircraft without properly notifying Kwok -- the Aircraft’s beneficial
owner, and guarantor on a loan related to the Aircraft -- of the potential sale.’).
63
   Id. at 2 (“Kwok will suffer irreparable harm if the preliminary injunction is not granted to stay the sale of the
aircraft as the Aircraft is unique to Kwok -- he personally worked with the designer on the outfitting of the Aircraft
and was comprehensively involved in the Aircraft’s particular design and specification”); Id. at 6-7 (“If UBS is
permitted to move forward with the sale despite their defective notice and without providing Kwok an accounting,
Kwok will permanently lose the Aircraft that is personal and specific to him, for which money damages cannot and
will not suffice.”).
64
  Ex. 36, Order at 3, Kwok v. USB AG et al, Index No. 152025/2019 (N.Y. Sup. Ct.), NYSCEF Doc. No. 17
(February 26, 2019) (“Petitioner’s sole contractual connection to the aircraft is vis-à-vis a written guarantee of the
non-party mortgagor’s obligations which are collateralized via the aircraft.”).

65
   Escobar, Pepe, et al. “Exclusive: The Fugitive Who Tried to Spark a US-China War.” Zero Hedge, Aug. 10, 2022,
https://www.zerohedge.com/geopolitical/escobar-fugitive-who-tried-spark-us-china-war (“[Kwok] set up more than
100 companies in Hong Kong, China, the United Kingdom, the United States, the British Virgin Islands, and the
Cayman Islands.”).

66
     Ex. 3, Hong Kong Restraint Order ¶ 3.


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           11.      In sum, while this Complaint focuses on Bravo Luck, and the Plaintiff does not

herein seek relief against other entities, the context regarding Kwok’s wide-ranging strategy of

using shell companies to shelter assets from creditors will assist the Court in understanding the

allegations in this Complaint. 67 Of course, the Plaintiff also expressly reserves its rights to

pursue actions asserting claims against each of those other entities at the appropriate time.

           B.       Purchase of Sherry Netherland Apartment

                  i.     Kwok Submits Purchase Application

           12.      On February 26, 2015, Kwok submitted a purchase application (the “Purchase

Application”) for the Sherry Netherland Apartment, listing the “applicant” as “‘Miles’ Kwok Ho

Wan (Genever Holdings LLC).” 68 The Purchase Application did not reference Bravo Luck or

the Purported Trust Agreement, even though the Purported Trust Agreement had allegedly been

executed by that time.

           13.      The Purchase Application (and sale contract submitted together therewith) stated

that closing could occur by no later than 10:00 a.m. on March 6, 2022. 69

           14.      In connection with the Purchase Application, Kwok and/or others on his behalf

submitted several other documents to the Sherry Netherland, Inc. (the “Sherry Netherland”),

including:

                    a)      A financial letter of reference, dated February 23, 2015, from Tommy
                            Cheung and Stephen Wong, Managing Directors at the UBS AG Hong
                            Kong Branch (“UBS Letter”). The UBS Letter stated that Kwok “has

67
  The Plaintiff reserves all its rights in connection with potential future alter ego, veil piercing, or substantive
consolidation claims against Bravo Luck.

68
     See Ex. 37, Sherry Netherland Purchase Application Materials, at SN 0047.

69
  Ex. 38, Email from Susan Hennelly attaching Contract of Sale, dated March 3, 2015, at SN 0029. See also Ex. 39,
Minutes of meeting of the Board of Directors of the Sherry Netherland held on March 3, 2015, at 2 (“The contracts’
closing date is set for not later than March 6, 2015 and provide that the purchaser may terminate the contracts if
there is no closing by that date.”).


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                              been a client of ours through a personal investment company since July
                              2012 and during this time [Kwok] has had a satisfactory banking
                              relationship with us. At 18 Feb. 2015, the funds involved in this banking
                              relationship is not less than USD $400,000,000.” 70 Upon information and
                              belief, the “personal investment company” of Kwok referenced in this
                              letter is Bravo Luck.

                     b)       A letter dated February 25, 2015, from Jerry L. Shulman, an attorney at
                              the law firm of Williams & Connolly LLP, which then represented Kwok
                              (the “Shulman Letter”), and not, upon information and belief, Bravo Luck.
                              Among other things, the Shulman Letter attached the 2013 financial
                              statements for a company called Beijing Zenith Holdings Co., Ltd.
                              (“Beijing Zenith”) and promised that the Sherry Netherland would soon be
                              provided with Beijing Zenith’s unaudited 2014 financials and a
                              “certification that (a) Mr. Kwok is the owner and controlling person of the
                              company and (b) the company continues in existence and operation.” 71

                     c)       A follow-up letter to the Shulman Letter, dated February 27, 2015, from
                              Ira J. Gilbert (the “Gilbert Letter”), an attorney at the law firm of Paul,
                              Weiss, Rifkind, Wharton & Garrison LLP (“Paul Weiss”), then acting as
                              “local real estate counsel for Mr. Kwok Ho Wan, an applicant to become a
                              shareholder/tenant at the Sherry Netherland,” 72 and not, upon information
                              and belief, acting as counsel to Bravo Luck. The Gilbert Letter included
                              as attachments the unaudited 2014 financial statements of Beijing Zenith
                              as well as a document titled “Beijing Zenith Holdings Co., Ltd Declaration
                              of Ownership,” which stated that Kwok “actually owns and controls the
                              company.” 73

                     d)       Letters of reference, with respect to Kwok individually, submitted by
                              Tony Blair (the former British prime minister), Hank Lo (a Hong Kong
                              attorney and partner at Stevenson, Wong Co.), and Stephen Wong, of
                              UBS. 74 Mr. Lo’s letter stated that “my firm has acted for Miles [i.e.,
                              Kwok] in various business transactions, including project financing, fund-
                              raising, corporate mergers and acquisitions and acquisition of aircrafts,

70
  Ex. 40, Letter from UBS AG HK, dated Feb 23, 2015, In re Genever Holdings LLC, Case No. 20-12411-jlg
(Bankr. S.D.N.Y.), ECF No. 14-64 (“the funds involved in this banking relationship is not less than USD400,
000,000”).

71
     Ex. 41, Letter from Jerry L. Shulman, dated February 25, 2015, at 1.

72
     Ex. 42, Letter from Ira J. Gilbert, dated February 27, 2015, at 1.

73
     Id. at 2.

74
  Ex. 38, Email from Susan Hennelly at SN 0050-54 (attaching letters of reference from Tony Blair (the former
British prime minister), dated February 2015, Hank Lo (a Hong Kong attorney and partner at Stevenson, Wong Co.),
dated February 17, 2015, and Stephen Wong (of UBS) dated February 18, 2015).


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                              leisure boats and properties in Hong Kong, China and different parts of the
                              world” and that Kwok was “dependable and responsible. 75 Mr. Wong’s
                              letter stated, similarly, that Kwok worked with UBS “in the areas of
                              securities investment and also in financing his various projects in areas
                              such as aircraft acquisitions” and that Kwok “is very reliable and always
                              fulfills his repayment obligations.” 76

           15.         At a meeting of the Board of Directors of the Sherry Netherland held on March 3,

2015, the Board of Directors determined that “the financial information provided by Mr. Kwok

was not sufficient for the Board to consider the application and that . . . additional due diligence

is required by the Board, including but not limited to obtaining additional financial information

regarding Mr. Kwok.” 77

                  ii.     Kwok Represents Bravo Luck’s Assets Are His Own

           16.         In response to the Sherry Netherland’s request for additional financial

information, Kwok’s counsel in Hong Kong, Stevenson, Wong & Co., submitted a letter to the

Sherry-Netherland, dated March 4, 2015, in support of Kwok’s purchase application (the

“Stevenson Wong Letter”).

           17.         The Stevenson Wong Letter stated, among other things, that Bravo Luck was

“legally and beneficially owned as to 50% by [Kwok] and 50% by [Kwok’s Son] respectively”

and that the bank account of Bravo Luck at UBS AG (“UBS”) with account number 371236 (the

“Bravo Luck UBS Account”) “is operated by either [Kwok] or [Kwok’s Son] signing solely and .

. . is able to be accessed by either of them signing solely.” 78 In other words, regardless of who as

a technical legal matter owned Bravo Luck, Kwok had complete access to the Bravo Luck UBS


75
     Id. at SN 0053.

76
     Id. at SN 0054.

77
     Ex. 39, Minutes of meeting of the Board of Directors of the Sherry Netherland, at 2.

78
     Ex. 43, Stevenson Wong Letter, dated March 5, 2015, at 2.


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Account.

           18.      The Stevenson Wong Letter included as an attachment a special report from UBS

dated March 3, 2015 demonstrating that the Bravo Luck UBS Account held liquid assets with a

value of approximately $490 million.

           19.      Upon information and belief, the Stevenson Wong Letter post-dates the payment

by Bravo Luck of approximately $30 million to purchase the Lady May yacht on February 23,

2015, meaning that immediately prior to February 23, 2015, the Bravo Luck UBS Account held

approximately $520 million (the $490 million in the account on March 3, 2015 plus the $30

million used to purchase the Lady May on February 23, 2015).

           20.      The Hong Kong Restraint Order identified the Bravo Luck UBS Account as a

bank account that, while purportedly held by Bravo Luck, was “subject to the effective control”

of Kwok and Kwok’s Son. 79 The Hong Kong Restraint Order was issued in 2018, indicating that

Kwok’s access to the Bravo Luck UBS Account continued well after his purported transfer of his

equity interest in Bravo Luck to Kwok’s Son in May 2015 (discussed further below).

                 iii.   Submission of Bravo Luck Financial Information Persuades Sherry
                        Netherland to Approve Kwok’s Purchase Application

           21.      At the meeting of the board of directors of the Sherry Netherland held on March

4, 2022, the Chairman of the meeting, Michael J Horvitz, reported, according to the minutes of

the meeting:

           that since yesterday’s meeting, [Horvitz] was in receipt from counsel for Genever
           Holdings LLC, the prospective purchaser of the 18th Floor and Maid’s Rooms
           719 and 2219, of a bank statement from UBS showing that the principal owner of
           the purchaser Miles Guo, also known as, Kwok Ho Wan, also known as Miles
           Kwok, had a bank account with UBS which contained liquid assets in an amount
           sufficient to give Mr. Horvitz comfort that Mr. Kwok met the Board’s financial
           standards, together with an opinion of Stevenson, [Wong] & Co., a legal firm in

79
     Ex. 3, Hong Kong Restraint Order ¶ 3, Respondent 21.


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           Hong Kong indicating that access to the account was available to either Mr. Kwok
           Ho Wan or one other person. Based upon these documents, Mr. Horvitz said that
           he was satisfied that the purchaser had adequate financial resources to become a
           shareholder of the Corporation assuming the Board’s previously discussed
           requirement that he place a security deposit with the Corporation equal to five
           years’ annual maintenance for the three units being acquired. 80

           22.      According to the testimony of Michael Ullman, Executive Vice President and

Chief Operating Officer of the Sherry Netherland, “[a]ll of the financial information that [Kwok]

presented to The Sherry-Netherland was financial information of companies that he purported to

own.” 81

                 iv.    Purchase of Sherry Netherland Apartment

           23.      On or around March 4, 2015, no less than approximately $63 million of the funds

used to purchase the Sherry Netherland Apartment were transferred from the Bravo Luck UBS

Account to a representative of the seller. 82 Upon information and belief, this payment was

processed pursuant to a wire transfer form signed by Kwok. 83

           24.      Upon information and belief, any cash held by Bravo Luck, including the cash

used to purchase the Sherry Netherland Apartment, was provided to Bravo Luck by Kwok or an

entity controlled by Kwok.

           25.      At the time Bravo Luck paid for the Sherry Netherland Apartment, Kwok

formally held 50% of its shares.




80
     Ex. 44, Minutes of meeting of the Board of Directors of the Sherry Netherland held on March 4, 2015, at 1.

81
   Ex. 45, Ullman Dep. Tr. at 60:5-9 (“Q: All of the financial information that [Kwok] presented to The Sherry-
Netherland was financial information of companies that he purported to own? A: Yes”).

82
     Ex. 46. BVI Affidavit of Qiang Guo, at ¶ 49, dated December 29, 2021.
83
  Escobar, Pepe, et al. “Exclusive: The Fugitive Who Tried to Spark a US-China War.” Zero Hedge, Aug. 10, 2022,
https://www.zerohedge.com/geopolitical/escobar-fugitive-who-tried-spark-us-china-war.


                                                           20
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           26.      According to a purported Instrument of Transfer, on May 26, 2015, Kwok

transferred his 50% interest in Bravo Luck to Kwok’s Son in exchange for consideration of one

dollar. 84

           27.      The sale of the Sherry Netherland Apartment, for a price of $70 million, closed on

March 6, 2015. Documents executed in connection with the closing included a Proprietary Lease

(the “Lease”) with the Sherry Netherland as Lessor and Genever US as Lessee, as well as an

Agreement and Consent with Respect to Shares and Proprietary Lease (the “Agreement and

Consent”) with the Sherry Netherland as Lessor, Genever US as Lessee, and Kwok as Occupant.

Under the Agreement and Consent, Kwok represented that Genever BVI was sole member of

Genever US and agreed to, among other things, be bound by all the obligations of Genever US

under the Lease and to deliver a personal guaranty guaranteeing the performance of Genever US

thereunder. 85 Such personal guarantee was executed by Kwok on March 6, 2015 and attached as

an exhibit to the Agreement and Consent. 86

                  v.     Counsel Opine on Genever US and Genever BVI’s Capacity to Contract
                         and Perform Obligations

           28.      In addition, on March 6, 2015, Kwok’s counsel submitted certain additional

documents to the Sherry Netherland, including:

                    a)        A letter from Paul Weiss, describing itself as “special counsel to [Genever
                              US],” opining, based on the review of enumerated Genever US corporate
                              documents and related materials, that, among other things:




84
  Ex. 47, Instrument of Transfer, dated May 12, 2015, See also Ex. 46, BVI Affidavit of Qiang Guo at ¶ 31 (“The
legal ownership of Bravo Luck was changed for a limited period of approximately four months between 26 January
2015 and 12 May 2015, whereby I transferred 50% legal ownership of Bravo Luck to [Kwok]”).
85
     Ex. 48, Agreement and Consent, dated March 6, 2015, at ¶ 3-5.

86
     Id. at SN 0298-0300.


                                                         21
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                                      (1)      Genever US had “all the necessary power to execute and
                                               deliver” the leases and related transactional documents
                                               executed in connection with the sale of the Sherry
                                               Netherland Apartment (the “Transactional Documents”);

                                      (2)      Genever US had “all necessary power to execute, deliver
                                               and perform its obligations under the Transactional
                                               Documents”; and

                                      (3)      Each Transactional Document constituted “the legal, valid,
                                               and binding obligation of [Genever US], enforceable
                                               against [Genever US] in accordance with its terms.” 87

                    b)       A letter from Ogier, BVI counsel to Kwok and/or Genever BVI, based on
                             the review of enumerated Genever BVI corporate documents and related
                             materials stating, among other things, that Genever BVI “has the capacity
                             and power to form and hold membership interests in [Genever US], to be
                             [Genever US’s] sole member and, as a matter of British Virgin Islands
                             law, to cause [Genever US] to enter into” the Transactional Documents. 88

           29.      Notably, Paul Weiss and Ogier, in preparing these opinion letters, purported to

review the key corporate documents, enumerated in their letters, regarding Genever US and

Genever BVI, respectively. Tellingly, despite its purported date of February 17, 2015—that is,

before the opinion review period—the Purported Trust Agreement was not among these

documents. Upon information and belief, this was because the Purported Trust Agreement did

not exist at that time.

           30.      In fact, at no point during the process of purchasing the Sherry Netherland

Apartment did Kwok or anyone else make any reference to the Purported Trust Agreement.

Upon information and belief, this was because the Purported Trust Agreement did not exist at

that time.




87
     Ex. 49, Letter from Paul, Weiss, Rifkind, Warton & Garrison LLP, dated March 6, 2015, at 2.

88
     Ex. 50, Letter from Ogier, dated March 6, 2015, at 3.


                                                             22
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           31.          Upon information and belief, Kwok, and not Kwok’s Son, used the Sherry

Netherland Apartment as his principal residence from 2015 until shortly prior to the filing of this

Complaint.

           C.           Kwok’s Intent to Transfer Sherry Netherland Apartment to Son

                   i.      Kwok’s Representatives Inquire Regarding Transfer of Sherry
                           Netherland Apartment to Son Through Trust Arrangement

           32.          According to the testimony of Mr. Ullman of the Sherry Netherland, in or around

June of 2016, Kwok’s real estate agent, Kathy Sloane, met with Mr. Ullman in his office and

inquired regarding how Kwok could transfer ownership of the Sherry Netherland Apartment to

Kwok’s Son. 89 Mr. Ullman responded by explaining that such a transfer would require “go[ing]

through the entire process of purchase again and he would have to submit letters of

recommendation, updated financials and the whole package that’s required to transfer it.” 90

           33.          On June 29, 2022, Mr. Ullman received an email from “Yong,” one of Kwok’s

employees, 91 from the email address “kwokoffice.nyc@gmail.com.” In the email, Yong

introduced “our lawyer Helen Manis which I copied in the email to you,” noting that

communicating with Ms. Manis “may be helpful to process the transfer [to Kwok’s Son]” and

requesting “help to reply to her questions that we can process smoothly.” 92

           34.          On the same day, Mr. Ullman received an email from attorney Manis in which

Ms. Manis stated that the Sherry Netherland Apartment “is currently owned by an LLC that is




89
     Ex. 45, Ullman Dep. Tr. at 77:16-23.

90
     Id. at 78:18-21.

91
     Upon information and belief, this was Yu Yong, discussed above in relation to the Ace Decade entity.

92
     Ex. 51, Email from Yong, dated June 29, 2016, at SN 0023.


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ultimately beneficially owned by Mr Kwok.” 93 Ms. Manis then stated that “we want to

undertake some restructuring in relation to the property so that the ultimate beneficial ownership

will pass to [Kwok’s] son,” asking “if the final result of the restructuring is that the LLC is

owned by a trust of which the son is beneficiary, is this acceptable to you?” 94

           35.      Mr. Ullman responded to Ms. Manis’ inquiry on July 7, 2016, explaining that

“[i]n order for the Board to consider the requested series of transfers of the apartment to a trust

for the benefit of Mr Kwok’s son, the Board would have to initially be provided with the items

detailed on the attached Board requirements list and the completed attached transfer

application.” 95

           36.          Upon information and belief, Kwok’s representatives suggested in these June

2016 communications that the Sherry Netherland Apartment be placed in trust for the benefit of

Kwok’s Son because the Purported Trust Agreement—which Kwok now alleges had already

placed the apartment in trust for the benefit of Kwok’s Son as of February 2015—did not in fact

exist at that time.

                  ii.      Kwok Again Attempts to Transfer Sherry Netherland Apartment to Son

           37.       On June 12, 2017, an individual identifying herself as Yvette Wong 96 stated, in an

email to Mr. Ullman regarding a variety of property maintenance issues: “I was told that our

contact person to [the] Sherry [Netherland] is my Principle himself [i.e., Kwok], again for the




93
     Id. at SN 0018 (emphasis added).

94
     Id. at SN 0019 (emphasis added).

95
     Ex. 52, Email from Michael Ullman, dated July 7, 2016, at 1.
96
  Upon information and belief, this Yvette Wong is the same individual as the Yvette Wang described above
(whose roles include, among others, that of president of Golden Spring).


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convenience of Family, could we change this person to be my Principle’s son?” 97 Yvette Wong

followed up on this request on June 19, 2017, inquiring “[i]s there any way we can change

[Kwok’s Son] to be the Official contact person?” 98

            38.      Mr. Ullman testified that he believed this request “was an attempt to “circumvent

the [Sherry-Netherland’s June 2016] decision . . . that he couldn’t transfer the apartment to the

son.” 99

            39.      Again, Kwok’s attempt to transfer the Sherry Netherland Apartment to Kwok’s

Son is irreconcilable with his current position that his son already beneficially owned the

apartment pursuant to the Purported Trust Agreement at that time.

            D.       Kwok Asserts Claims Against Sherry Netherland in 2016 Lawsuit

            40.      On August 5, 2016, Kwok and Genever US commenced an action against the

Sherry Netherland and related defendants by filing a verified complaint (with a verification

signed by Yvette Wong) in the United States District Court for the Southern District of New

York (the “2016 Complaint”). 100 The 2016 Complaint stated, among other things, that:

                     a)      The Sherry Netherland had committed misconduct in handling certain
                             building repairs—what the 2016 Complaint referred to as “an incident
                             involving one of its most prestigious residents [i.e., Kwok] and one of its
                             most expensive apartments [i.e., the Sherry Netherland Apartment].” 101

                     b)      Kwok was the “Sole Shareholder of [Genever US],” 102 which was “owned
                             and operated by [Kwok].” 103

97
     Ex. 53, Email from Yvette Wong, dated June 12, 2017, at 7.
98
     Id. at 1.

99
     Ex. 45, Ullman Dep. Tr. at 92:12-93:3.

  Ex. 10, Verified Complaint, Genever Holdings, LLC v. Sherry-Netherland, Inc., 16-cv-06246 (S.D.N.Y. Aug. 5,
100

2016), ECF No. 1.

101
      Id. at ¶ 1.

102
      Id. at ¶ 22.

                                                         25
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                      c)     The Sherry Netherland had unlawfully discriminated against Kwok based
                             on his Chinese nationality in requiring the funding of a security deposit to
                             cover five years of maintenance fees. 104

            41.       At no point in the 2016 Complaint did Kwok or anyone else make any reference

to the Purported Trust Agreement, despite the Purported Trust Agreement allegedly having been

executed on February 17, 2015. Upon information and belief, the Purported Trust Agreement

was never mentioned because it did not in fact exist at that time.

            E.        Additional Evidence That Bravo Luck Is Controlled by Kwok

            42.       Discovery obtained by PAX from Bravo Luck provides further evidence that

Bravo Luck is controlled by Kwok. For example:

                      a)     Disclosure from Bravo Luck’s former BVI registered agent shows that the
                             “client of record” was, prior to mid-2017, Stevenson Wong & Co.,
                             Kwok’s long-time Hong Kong lawyers.

                      b)     In mid-2017, the client of record for Bravo Luck’s BVI registered agent
                             became William Je of Kingdom Rich Limited. 105 William Je is a close
                             associate of Kwok and Kingdom Rich Limited is a Kwok shell company
                             purportedly owned by Kwok’s Son 106 that, upon information and belief,
                             once owned a boat called the Lady May II.

                      c)     The address used by William Je in his role as client of record of Bravo
                             Luck’s BVI registered agent is the same address listed as Kwok’s address
                             on Bravo Luck corporate documents.

                      d)     At the trial held in the Eastern Profit Corp. Ltd. litigation, one witness
                             testified on April 22, 2021 that Kwok had introduced her to Mr. Je and
                             described Mr. Je as “my money man.” 107 When Kwok testified at this

103
      Id. at ¶ 32.

104
      Id. at ¶ 124.

105
    Ex. 54, Email from Rexella Hodge, dated May 15, 2020, at 1 (“Until mid-2017, the client of record was
Stephenson Wong & Co. Thereafter, the portfolio was managed by Mr. William Je of Kingdom Rich Limited. A
copy of email requesting the change is attached.”).

106
      Ex. 59, Kingdom Rich Ltd. Annual Return at 8 (listing Qiang Guo as only member).
107
   Ex. 26, Tr. at 774:24-775:1 (“Was he formally introduced to you? A. Yes. Mr. Guo introduced him to me that --
jokingly, that “He's my money man. Anything ask him about money.”).


                                                         26
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                          trial, he invoked the Fifth Amendment multiple times when questioned
                          regarding William Je.108

                 e)       William Je is the sole purported shareholder of a Hong Kong entity called
                          ACA Capital Group Ltd. (“ACA”), an entity that appears to also be
                          controlled by Kwok, with a number of ACA’s directors and officers being
                          well-known associates of Kwok. 109

                 f)       Fiona Yu, (“Ms. Yu”), who, according to her business card was an in-
                          house attorney at ACA Capital Group Ltd. (“ACA”), certified the due
                          diligence (“KYC”) materials supplied by Kwok’s Son to Bravo Luck’s
                          BVI registered agent. Ms. Yu also submitted an affidavit in the State
                          Court Action as the “appointed person” for Kwok. 110

                 g)       ACA was originally intended to be the lender of approximately $37
                          million to HK USA for placement into escrow in connection with the
                          April 2022 stipulation requiring the escrowing of such funds as security to
                          ensure the return of the Lady May to the United States. ACA was
                          replaced as HK USA’s lender by Himalaya International Financial Group
                          Ltd., an entity linked to Kwok’s Himalaya Coin/Himalaya Dollar
                          cryptocurrency operation.

                 h)       ACA has a history of gifting funds to Kwok under the guise of purported
                          loans. In the Liman Decision, Judge Liman found that ACA had given a
                          gift of $1 million to Eastern Profit Corporation, despite the contention that
                          these funds were provided as a loan and the existence of a document that
                          purported to be a loan agreement. 111 During the related litigation,
                          Strategic Vision US LLC had suggested that Kwok was the source of the




108
    See id. 691: 24-25 (“Q. Who is William Je? A. The Fifth Amendment.”); Id. at 692:24-693:1 (Q: “And [Mr. Je]
sends money to places when you ask him to do so, doesn’t he? A: The Fifth Amendment. I’m invoking the Fifth
Amendment.”); id. at 695: 5-7 (“And you introduced William Je to close associates as your money man, haven’t
you? A. The Fifth Amendment.”).

109
    See Ex. 55, ACA Capital Group Limited Articles of Association, at 2 (identifying Je Kin Ming (alias of William
Je) as sole shareholder); Ex. 56, ACA Capital Group Ltd. Change in Particulars of Company Secretary and Director,
dated April 1, 2017, at 3 (signed by Fiona Yu); Ex. 57, ACA Capital Group Ltd. Annual Return, dated Jan. 6, 2019,
at 4 (listing Karin Maistrello as director).

110
    Ex. 58, Affirmation of Fiona Yu in Support of Defendant's Motion to Dismiss ¶ 1, PAX v. Kwok, Index No.
652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 11.

111
   Eastern Profit Corp. Ltd., 2021 WL 2554631, at *41 (“The source of the funds sent by ACA is unknown to the
Court and was not the subject of testimony. But regardless of whether those funds are ultimately traceable to [Kwok]
as Strategic suggested or are independent from him, the Court finds that they were a gift on behalf of Eastern (and
[Kwok]) and not provided out of any obligation.”).


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                            funds gifted to Eastern, however Judge Liman did not make a finding on
                            that issue. 112

                    i)      ACA Capital contributed to the payment of Kwok’s legal fees in
                            connection with the State Court Action. 113

            F.      PAX’s Litigation Against Kwok

                  i.     PAX Claim

            43.     As determined by the State Court, 114 during the entire time period relevant to this

Complaint, Kwok was personally indebted to PAX pursuant to a 2011 personal guarantee (the

“2011 Personal Guarantee”) with respect to amounts owing in connection with a loan made by

PAX to one of Kwok’s business entities in 2008 (the “PAX Claim”). 115 Between April 2013 and

June 2015, Kwok and PAX were parties to a Deed of Settlement under which it was

contemplated that the PAX Claim would no longer be due and owing if certain conditions

occurred. These conditions did not occur, and the PAX Deed of Settlement was terminated in

June of 2015. 116

            44.     On April 18, 2017, PAX filed a complaint in the State Court asserting Kwok’s

liability in connection with the PAX Claim under a theory of breach of contract related to the

2011 Personal Guarantee. 117 On April 18, 2019, PAX amended its complaint to include Genever



112
      Id.

  Ex. 60, Letter from Kevin M. Kearney of Hodgson Russ LLP, dated April 7, 2021 at 2, PAX v. Kwok, Index No.
113

652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 766 (Noting that payments to Hodgson Russ were made by
Golden Spring as well as ACA Capital and a third Kwok-linked entity, Ziba Limited).

114
    Ex. 61, Decision and Order, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 549, at 7
(“the Court finds Kwok liable for breach of the 2011 Personal Guarantee.”).

115
      Id.

116
      Id. at 7.

117
      See Ex. 62, Complaint, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 2.


                                                       28
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US and Genever BVI as defendants and to assert that such entities’ corporate veils should be

pierced and that they should be held jointly and severally liable for Kwok’s breach of contract.

               ii.      PAX’s Efforts to Seek Prejudgment Attachment

        45.      In 2017 and 2018, PAX filed multiple prejudgment attachment motions in the

State Court in an effort to prevent Kwok from dissipating his assets, including the Sherry

Netherland Apartment. 118 As a result of these motions, the State Court entered an order on April

26, 2019, which required Kwok and the Genever Entities to provide PAX written notice of any

contract to sell, assign, transfer, or pledge the Sherry Netherland Apartment.

        46.          PAX’s first prejudgment attachment motion, filed on July 7, 2017, became moot

upon the State Court’s dismissal of the State Court Action on forum non conveniens grounds on

September 20, 2017, a decision that was reversed by the Appellate Division on April 4, 2018.

PAX filed a second prejudgment attachment motion on April 24, 2018 (the “Second Prejudgment

Attachment Motion”). 119

              iii.      Kwok Opposes Attachment by Alleging Existence of Pledges

        47.          Kwok’s May 16, 2018, opposition to the Second Prejudgment Attachment Motion

argued, among other things, that the Sherry Netherland Apartment could not be subject to

attachment because “pursuant to a pledge and security agreement entered into in or about May

2015 . . . the assets of Genever BVI, which by virtue of its ownership of Genever USA include



118
   Ex. 63, Memorandum of Law in Support of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.’S Motion for
Pre-Judgment Order of Attachment, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 28
(July 7, 2017), Ex. 64, Memorandum of Law in Support of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.’S
Motion for Pre-Judgment Order of Attachment, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF
Doc. No. 123 (April, 4, 2018), Ex. 65, Pacific Alliance Asia Opportunity Fund L.P.’s Memorandum of Law in
Support of its Motion for Pre-Judgment Order of Attachment, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup.
Ct.), NYSCEF Doc. No. 250 (November 28, 2018).

  Ex. 66, Notice of Plaintiff’s Motion for Pre-Judgment Order of Attachment, PAX v. Kwok, Index No.
119

652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 122 (April 24, 2018).


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the Apartment, were pledged to an entity named Roscalitar 2, an exempted company

incorporated in the British Virgin Islands.” 120

            48.     Kwok’s May 16, 2018, opposition was supported by an affidavit of Ms. Wang

dated May 15, 2018 (the “2018 Wang Affidavit”). In the 2018 Wang Affidavit, Ms. Wang

identified herself as president of Golden Spring and “administrator for the interests of [Kwok] . .

. and his family.” 121 The 2018 Wang Affidavit further asserted that Kwok was “the sole

shareholder of Genever BVI” and that “the shares of Genever BVI have been pledged as

collateral to a third party Roscalitar 2.” 122 In addition, the 2018 Wang Affidavit acknowledged

that Kwok held an “ownership interest” in the Sherry Netherland Apartment, though it was “not

in real property” but was an “ownership interest in certain shares of the Sherry Netherland.” 123

            49.     In PAX’s reply brief in support of the Second Prejudgment Attachment Motion

and at the June 27, 2018 hearing before the State Court, PAX argued that the pledge granted to

Roscalitar 2 had been terminated prior to the commencement of the State Court Action. At the

hearing, counsel to Kwok proudly defended the pledge assertion, remarking that “[f]or the

purpose of the integrity of the Court and myself and the papers that we submit, I want your

Honor to be aware that . . . that lien is still in effect today.” 124 Counsel to Kwok also submitted

to the State Court documents purporting to show the existence of both the Roscalitar 2 pledge



120
   Ex. 67, Defendant’s Memorandum of Law In Opposition to Plaintiff’s Motion for an Order of Pre-Judgment
Attachment, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 167 (May 16, 2018).

  Ex. 68, Affidavit of Yan Ping Wang at ¶ 1, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF
121

Doc. No. 182 (May 15, 2018).

122
      Id. at ¶ 5.

123
      Id. at ¶ 2.
124
   Ex. 69, Hr. Tr. at 24:21-26, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 199 (June
27, 2018).


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granted in 2015 as well as a second pledge in favor of Blue Capital, granted in February of

2018. 125

        50.      PAX subsequently demonstrated (and it was conceded by Kwok’s counsel) that,

not only had the Roscalitar 2 pledge been terminated in 2017, but that the Blue Capital pledge

had been terminated in June 2018, two weeks prior to the June 27, 2018 hearing. 126

        51.      On June 28, 2018, the State Court issued an order denying the Second

Prejudgment Attachment Motion without prejudice, requiring Kwok to notify PAX regarding

any contract of sale or assignment of the Sherry Netherland Apartment, and scheduling a hearing

on July 10, 2018 at which the parties would appear and enter into an expedited discovery

schedule. 127

        52.      Kwok did not raise or disclose the Purported Trust Agreement in connection with

his opposition to the Second Prejudgment Attachment Motion. Upon information and belief, this

is because the Purported Trust Agreement did not in fact exist at that time. Indeed, there would

have been no need for Kwok to go through the extensive ruse of alleging that Genever BVI was

subject to various liens and/or pledges if, in fact, Genever BVI was beneficially owned by Bravo

Luck pursuant to the Purported Trust Agreement. In addition, such pledges were prohibited by

the terms of the Purported Trust Agreement absent the prior written approval of Bravo Luck, and

therefore the pledge-based arguments belie the existence of the Purported Trust Agreement at the

time the pledge-based arguments were made.


125
    Ex. 70, June 27, 2018 Hearing Pledge Documents, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.),
NYSCEF Doc. No. 231 (November 15, 2018).

  Ex. 72, Hr. Tr. at 25:24-25, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 281
126

(March 8, 2019).
127
    Ex. 71, Decision and Order, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 192
(June 29, 2018).


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                 iv.       PAX Serves Document Discovery Requests

           53.        In connection with discovery on the attachment issue scheduled by the State

Court, in July 2018 PAX served Kwok with document requests that included a number of

Requests for Production (“RFPs”) with respect to which the Purported Trust Agreement was

responsive. The RFPs included requests for, among other things, all documents and

communications relating to the 2015 purchase of the Sherry Netherland Apartment and all

documents and communications relating to any transfer of monies or assets from Genever US to

any other person or entity. 128

           54.        Document discovery with respect to the prejudgment attachment issue closed in

September 2018.

           55.        The Purported Trust Agreement was not disclosed during the discovery period.

Upon information and belief, this is because the Purported Trust Agreement did not in fact exist

during that time period.

                 v.        Kwok’s October 2018 Deposition

           56.        PAX took Kwok’s deposition with respect to the attachment issue on October 3,

2018 (the “October 2018 Deposition”). During the October 2018 Deposition, among other

things:

                      a)      Kwok denied holding any ownership interest in the Sherry Netherland
                              Apartment, 129 stating that the Sherry Netherland Apartment was in fact
                              owned by an individual named Zhang Wei, allegedly in prison in China. 130
                              Upon information and belief, Zhang Wei had never been mentioned before
                              in any document filed in the State Court Action.


  Ex. 73, Plaintiff Pacific Alliance Asia Opportunity Fund L.P.’S Second Set of Requests for the Production of
128

Documents to Defendant, at ¶¶ 4, 11, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.) (July 13, 2018).

129
      Ex. 8, Kwok Dep. Tr. at 28:4-15.

130
    Id. at 27:15-25. Zhang Wei is listed on the Hong Kong Restraint Order as an individual (like Han Chunguang)
whose bank accounts were subject to Kwok’s control. Hong Kong Restraint Order ¶ 3, Respondent 26.

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                       b)     Kwok denied that he controlled Genever Holdings Corporation, alleging
                              that it was controlled by Zhang Wei. 131

                       c)     Kwok took the position that PAX could not attach the Sherry Netherland
                              Apartment because he did own it, but rather Zheng Wei did. 132

                       d)     Kwok claimed to have in his possession a written agreement evidencing
                              Zhang Wei’s ownership of the Apartment. 133 Kwok’s counsel
                              subsequently reported to PAX’s counsel that Kwok did not have this
                              document and would not be producing it. 134

                       e)     Kwok denied that he was the sole shareholder of Genever BVI
                              (contradicting, among other things, the Wang Affidavit). 135

                       f)     When asked whether his son had any ownership of Genever BVI, Kwok
                              stated that he did not know. 136

                       g)     When asked whether his son had any role with respect to Genever BVI,
                              Kwok indicated vaguely that his son was some sort of “representative,”
                              but upon further questioning responded that he did not know more because
                              “[t]his is something that is affair of Mr. Zhang Wei.” 137

                       h)     Kwok denied having given the Sherry Netherland an expedited deadline
                              by which to accept his purchase application. 138 In addition, he claimed to
                              not know or not remember numerous facts, such as whether he had
                              authorized Paul Weiss and Williams & Connolly to communicate with the
                              Sherry Netherland on his behalf. 139




131
      Id. at 36:20-24.

132
      Id. at 125:13-19.

133
      Id. at 119:4-24.

134
    See Ex. 105, Email from Edward Moss of O’Melveny & Myers LLP dated October 9, 2018 (“Today in court,
Jillian [Searles] told Stuart [Sarnoff] and me that Mr. Kwok does not have the document and therefore you will not
be producing it.”).

135
      Ex. 8, Kwok Dep. Tr. at 31:25-32:3.

136
      Id. at 41:23-25.

137
      Id. at 42:19-20.

138
      Id. at 86:19-24.

139
      Id. at 76:4-7.


                                                        33
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                     i)      Kwok denied having any ownership interest Beijing Zenith Holdings
                             Company Ltd. as of 2015, contradicting the letters submitted to the Sherry
                             Netherland on his behalf by Paul Weiss and Williams & Connolly. 140

                     j)      Kwok claimed not to know whether he had any relationship with Bravo
                             Luck 141 and not to remember whether he had ever held an ownership
                             interest in Bravo Luck. 142 He also stated that Bravo Luck was owned by
                             Zhang Wei. 143

                     k)      Kwok was asked repeated questions regarding the inquiries made on Mr.
                             Kwok’s behalf in 2016 in connection with the contemplated transfer of the
                             Sherry Netherland Apartment to Kwok’s Son through a trust, generally
                             denying his involvement and/or claiming not to know or remember. 144

            57.      Notably, despite the numerous questions related to the role of Bravo Luck and

Kwok’s interest in transferring the Sherry Netherland to his son through a trust, Kwok never

once mentioned the Purported Trust Agreement during the October 2018 Deposition. Upon

information and belief, this is because the Purported Trust Agreement did not in fact exist at that

time. Further, there would have been no need for Kwok to go through yet another extensive

ruse—alleging without evidence that the Sherry Netherland Apartment was owned by Zhang

Wei—if, in fact, such apartment was owned by Bravo Luck pursuant to the Purported Trust

Agreement.




140
      Ex. 8, Kwok Dep. Tr. at 77:3-6, 16-25.

141
      Id. at 81:10-17.

142
      Id. at 82:20-22.

143
      Id. at 82:17-19.

144
      Id. at 105:2-22.


                                                       34
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              vi.    Appearance of Purported Trust Agreement

        58.      On November 15, 2018, PAX filed its third prejudgment attachment motion (the

“Third Prejudgment Attachment Motion”). 145 In Kwok’s response dated December 14, 2018,

Kwok noted that he had agreed to produce documents and communications regarding, among

other things, Kwok’s relationship with Genever US and Genever BVI. 146

        59.      Then, on April 22, 2019 (a few days before the April 26, 2019 evidentiary hearing

on the Third Prejudgment Attachment Motion), Kwok’s counsel sent an email to PAX’s counsel

stating as follows: “Attached is a document . . . recently obtained by Mr. Kwok, and provided to

us, which I am providing to you in accordance with Mr. Kwok’s ongoing discovery

obligations.” 147 The attached document was the Purported Trust Agreement.

        60.      Prior to April 22, 2019, and despite the Purported Trust Agreement being

responsive to RFPs issued in July 2018, the Purported Deed of Trust had never surfaced in

discovery nor been produced to PAX.

        61.      Despite producing the Purported Trust Agreement a few days before the April 26,

2019 evidentiary hearing on the Third Prejudgment Attachment Motion, neither Kwok’s

attorneys nor Ms. Wang (the president of Kwok’s “family office” shell company, Golden

Spring), who testified at the hearing, referred to or proffered the Purported Trust Agreement in

opposing the motion. Upon information and belief, Kwok’s representatives did not raise or


145
   Ex. 65, Pacific Alliance Asia Opportunity Fund L.P.’s Memorandum of Law in Support of its Motion for Pre-
Judgment Order of Attachment, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 250
(November 28, 2018).

146
   Ex. 74, Defendant’s memorandum of Law in Opposition to Plaintiff’s Motion for an Order of Pre- Judgment
Attachment, at 6, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 268 (December 14,
2018).

147
   Ex. 75, Email from Jillian Searles of Hodgson Russ LLP disclosing Purported Trust Agreement, dated April 22,
2019.


                                                      35
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proffer the Purported Trust Agreement in opposing the Third Prejudgment Attachment Motion

because they anticipated the State Court would recognize the document as fraudulent. Indeed, if

valid and enforceable, the Purported Trust Agreement could have been a “showstopper” in favor

of Kwok in the State Court Action.

            62.        The Purported Trust Agreement bears, on its first page, the date of February 17,

2015, a date over a week prior to the initial submission of Kwok’s purchase application to the

Sherry Netherland on February 26, 2015.

            63.        The Purported Trust Agreement states, among other things, that Kwok as

“Trustee” “is holding [Genever BVI] and [Genever US] in trust for [Bravo Luck],” 148 and that

Bravo Luck “is a beneficial owner of [Genever BVI] and [Genever US].” 149 The Purported Trust

Agreement also contains covenants of Kwok as Trustee to not allow any assignment of or

execution against Genever US and Genever BVI.

            64.        The Purported Trust Agreement allegedly bears the signatures of Kwok (signing

on behalf of himself, Genever US, and Genever BVI) and Kwok’s Son, signing on behalf of

Bravo Luck.

            65.        The Purported Trust Agreement states that Genever US was formed at the address

of the Sherry Netherland Apartment, even though as of February 17, 2015, the Sherry Netherland

Apartment had not yet been purchased and the Purchase Application had not yet been

submitted. 150




148
      Id. at Background ¶ (4).

149
      Id. at Background ¶ (5).

150
      Id. at Intro. ¶ (3)


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            66.       To the extent the Purported Trust Agreement was in fact executed on February 17,

2015 (which the Plaintiff disputes), it was executed in anticipation of the acquisition of the

Sherry Netherland Apartment and for the purpose of transferring the value of such apartment to

Kwok’s Son (through Bravo Luck). 151 And to the extent the Purported Trust Agreement was

executed after March 6, 2015 (i.e., at a time when Genever US already held title to the Sherry

Netherland Apartment), it was executed for the purpose of transferring the value of such

apartment to Kwok’s Son (through Bravo Luck).

            67.          The Purported Trust Agreement contains a choice of law provision stating that it

“shall be governed by and construed in accordance with the law of the State of New York” and

that the “construction, interpretation, implementation and enforcement of [the Purported Trust

Agreement] shall be governed by the laws and regulations of the State of New York.” 152

            68.       Upon information and belief, no consideration was paid to Genever BVI in

connection with the alleged execution of the Purported Trust Agreement.

                  vii.      PAX Prevails on Merits

            69.       On September 15, 2020, PAX prevailed on its motion seeking summary judgment

on its breach of contract claim against Kwok. 153 PAX’s veil-piercing claims against Genever US

and Genever BVI remained pending. Notably, the State Court ruled that Kwok was estopped

from challenging the authenticity of key documents underlying the PAX claim, including the

2011 Personal Guarantee (which during a deposition held in late 2019 Kwok for the first time

denied having signed) on the grounds that Kwok’s representative had submitted these same



151
      Id. at Background ¶ (3).

152
      Id. at Decl. ¶ 4.

153
      See Ex. 61, Decision and Order. An appeal of this decision is pending.


                                                           37
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documents to the State Court in 2017 to support of Kwok’s motion to dismiss the State Court

Action on forum non conveniens grounds.

           70.       On February 3, 2021, the State Court entered an order awarding PAX a judgment

in connection with its breach of contract claim in the amount of $116,402,019.57 (the “PAX

Judgment”). 154

                 viii.    State Court Issues Restraining Orders

           71.       On September 25, 2020, PAX filed a motion in the State Court seeking a

restraining order pursuant to New York Civil Practice Law & Rule (“CPLR”) 5229, alleging,

among other things, that Kwok would “take steps to dissipate his assets or otherwise frustrate the

judgment in this case” (the “CPLR Motion”). 155

           72.       On September 30, 2020, the State Court entered a temporary restraining order

restraining Kwok from, among other things, “making or causing any sale, assignment, transfer,

or interference with any property in which he has an interest.” 156

           73.       On October 15, 2020, the State Court held a hearing with respect to PAX’s CPLR

Motion and Kwok’s opposition thereto. At the hearing, the State Court stated in comments

directed at Kwok and his counsel:

                     a)      “The Court believes . . . that Mr. Kwok has attempted to mislead the
                             Court. The Court believes that Mr. Kwok is, as the plaintiff contends,
                             playing a shell game with his assets, and has violated if not the letter of
                             court orders, the spirit of court orders.” 157


154
      Ex. 76, Judgment, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 716.

155
    Ex. 77, Memorandum of Law in Support of PAX’s CPLR 5229 Motion and Request for TRO at 5, PAX v. Kwok,
Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 576.

  Ex. 78, Decision and Order on Motion, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc.
156

No. 591.

157
      Ex. 79, Tr. at 21:13-16, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 647.


                                                        38
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                         b)         “[W]e are not going to have any more shell games. Wherever these assets
                                    are held, they are going to remain held where they presently reside, and if
                                    it’s determined that the entities that are presently listed as the owners of
                                    the assets are the alter ego of Mr. Kwok or are wholly dominated and
                                    controlled by Mr. Kwok, those assets will be made available to satisfy any
                                    judgment that the plaintiff recovers.” 158

                         c)         “The intent here which is very clear and specific is that in this 2017 case
                                    in which there’s been a great deal of gamesmanship, a great deal of
                                    dissembling, and some flagrant disregard of court orders, I want to know if
                                    any transaction is going to take place in which Mr. Kwok is the guiding
                                    hand that’s something other than an ordinary course of business
                                    transaction.” 159

                            d)      “[O]rders of the Court are either flaunted or exceedingly liberally
                                    interpreted, and . . . intentional or unintentional misstatements that have
                                    misled the Court have been made to the Court.” 160

            74.          On the same day, October 15, 2020, the State Court entered an order (the

“October 2020 Restraining Order”) providing that Kwok “and/or the registered owners of (1) the

Residence at the Sherry Netherland Hotel and (2) the yacht, ‘the Lady May’ are restrained from

making or causing any sale, assignment, transfer, or interference with those assets.” 161

            G.           Genever US Chapter 11 Case

                       i.        Filing of Genever US Chapter 11 Petition

            75.          On October 12, 2020, shortly before the October 15, 2020 hearing on PAX’s

CPLR Motion, Genever US commenced the Genever US Chapter 11 Case.

            76.          Genever US’s chapter 11 petition (the “Genever Petition”) was signed by Ms.

Wang as an “authorized representative” of Genever US. The Genever Petition included as an


158
      Id. at 22:7-14.

159
      Id. at 24:8-14.

160
      Id. at 26:5-8.
161
   Ex. 80, Decision and Order at 1, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 630
(emphasis added).


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attachment the Company Resolutions of Genever US authorizing the filing, signed by Kwok on

behalf of Genever BVI. The Company Resolutions contain no signature of Kwok’s Son or other

purported representatives of Bravo Luck.

        77.      The list of equity holders filed with the Genever Petition, signed by Ms. Wang,

listed Genever BVI as the only equity holder.

        78.      Ms. Wang’s declaration filed with the Genever Petition (the “Wang First Day

Declaration”) stated that the Purported Trust Agreement “recognizes [Bravo Luck] as the

beneficial owner of” the Sherry Netherland Apartment, and that Bravo Luck “is a company

owned by” Kwok’s Son. 162 The Wang First Day Declaration also stated that “[c]ontrary to

published reports, [Kwok] does not have an ownership interest in” the Sherry Netherland

Apartment. This was also contrary to Ms. Wang’s testimony in the 2018 Wang Affidavit, where

she had acknowledged that Kwok held an “ownership interest” in the Sherry Netherland

Apartment, though it was “not in real property” but was an “ownership interest in certain shares

of the Sherry Netherland.” 163

        79.      The Wang First Day Declaration made no mention of the name Zhang Wei,

despite Kwok’s prior assertion during the October 2018 Deposition that an individual named

Zhang Wei owned Bravo Luck.

        80.      On January 22, 2021, Genever US filed a declaration of Kwok in which Kwok

stated that he had personally funded the $27,000 retainer paid to Genever US’s bankruptcy

counsel [Genever Main Case Docket No. 40-2] and that he had “borrowed the monies to fund the



  Ex. 81, Petition, In re Genever Holdings LLC, Case No. 20-12411-jlg (Bankr. S.D.N.Y.), ECF No. 1, Wang First
162

Day Declaration ¶ 4.

  Ex. 68, Affidavit of Yan Ping Wang at ¶ 2, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF
163

Doc. No. 182 (May 15, 2018).


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payment from an unrelated third party not involved in this case.” 164

                    ii.   Bravo Luck’s Claim Against Genever US

            81.        In connection with filing the Bravo Luck Proof of Claim, executed by Kwok’s

Son on March 5, 2021, Bravo Luck argued as follows:

                      Bravo Luck was always intended to be the ultimate owner of the
                      Apartment, however, after initial discussions between [Kwok’s Son]
                      and/or his agents, [Kwok’s Son] was advised that the Application would
                      likely be more successful if an older, more established individual was the
                      nominal Applicant. Therefore, [Kwok] was brought in to be the
                      established individual supporting [Genever US’s] application for the
                      Apartment. Bravo Luck, [Kwok], the [Genever US] and [Genever BVI] .
                      . . entered into [the Purported Trust Agreement] to make clear that
                      [Kwok] as the trustee was holding the Genever Entities and the income,
                      profits, and dividends thereof (if any) in trust for Bravo Luck as the
                      beneficial owner of the Genever Entities and, thus, the Apartment. 165

            82.       Bravo Luck then asserted that it was “the beneficial owner of the Apartment with

the Apartment being held in trust by [Kwok] and the Genever Entities for Bravo Luck’s

benefit.” 166

            83.        In the alternative, Bravo Luck asserted a $76 million unsecured claim, in the

event “a court with jurisdiction over Bravo Luck determines that Bravo Luck does not own the

Apartment by virtue of the Apartment being held in trust by [Kwok] and the Genever Entities”

based on Bravo Luck’s “advancement of funds for the purchase of the Apartment and any other

funds advanced to maintain the Apartment.” 167



  Ex. 82, “Lar-Dan” Declaration of Kwok Ho WanA/K/A Miles Kwok in Connection With Retention of Goldberg
164

Weprin Finkel Goldstein LLP, As Counsel for the Debtor, In re Genever Holdings LLC, Case No. 20-12411-jlg
(Bankr. S.D.N.Y.), ECF No. 40 (January 22, 2021).

165
   Ex. 83, Proof of Claim, Addendum ¶ 2, In re Genever Holdings LLC, Case No. 20-12411-jlg (Bankr. S.D.N.Y.),
Claim 4-1 (March 5, 2021).
166
      Id. at ¶ 6.

167
      Id. at ¶ 7.


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        84.      In addition to the Bravo Luck Proof of Claim, PAX filed a proof of claim against

Genever US on the grounds that Genever US was an alter ego of Kwok. Upon information and

belief, numerous other creditors of Kwok also hold alter ego claims against Genever US, and

such creditors did not receive notice of the Genever US Chapter 11 Case or the applicable bar

date for filing proofs of claim against Genever US.

        85.      Upon information and belief, such creditors of Kwok also hold alter-ego claims

against Genever BVI.

              iii.   Genever US Chapter 11 Litigation and Settlement

        86.      On December 16, 2020, PAX filed a motion seeking relief from the automatic

stay to proceed with the State Court Action in connection with Genever US [Genever Main Case

Docket No. 13] (the “PAX Relief from Stay Motion”).

        87.      In their objections to the PAX Relief from Stay Motion, Bravo Luck and Genever

US both took the position that issues regarding the ownership of the Genever Entities should be

decided in previously commenced BVI litigation between PAX, Bravo Luck, and the Genever

Entities (the “BVI Litigation”). 168

        88.      On January 8, 2021, PAX filed a motion seeking the conversion of the Genever

US Chapter 11 Case to chapter 7 or, in the alternative, appointment of a chapter 11 trustee

[Genever Main Case Docket No. 29] (the “PAX Conversion Motion”).

        89.      On January 27, 2021, Bravo Luck filed its objection to the PAX Conversion

Motion (again asserting that Bravo Luck’s ownership issues should be resolved in BVI). In


  Ex. 84, Objection of Bravo Luck Limited to Motion of Plaintiff Pacific Alliance Asia Opportunity Fund L.P. to
168

Modify the Automatic Stay to Proceed with State Court Litigation, and Related Relief, In re Genever Holdings LLC,
Case No. 20-12411-jlg (Bankr. S.D.N.Y.), ECF No. 21 (January 5, 2021), Ex. 85, Debtor’s Response and
Reservation of Rights with Respect to the Motion of Pacific Alliance Asia Opportunity Fund for Relief from the
Automatic Stay, In re Genever Holdings LLC, Case No. 20-12411-jlg (Bankr. S.D.N.Y.), ECF No. 22 (January 5,
2021).


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addition, the Sherry Netherland filed a joinder to the PAX Conversion Motion, stating, among

other things, that:

                    When he applied for the requisite approval of the Sherry’s Board of
                    Directors of his purchase of the Residence in February and March of
                    2015, [Kwok] and his personal attorney represented, among other things,
                    that [Kwok] was the beneficial owner of [Genever US] and the [Genever
                    US’s] parent, Genever Holdings Corporation. In reliance upon those
                    representations—including that [Kwok] was the beneficial owner of
                    [Genever US], the sole purchaser of the Residence—the Board of
                    Directors of the Sherry approved the sale of the Residence to the
                    [Genever US]. 169

            90.     The Sherry Netherland stated that “[Genever US’s] and [Kwok’s]

misrepresentations and fraudulent behavior call into question [Genever US’s] ability to act as a

fiduciary of the estate and maximize the value of the estate.” 170

            91.     On February 26, 2021, following negotiations between Genever US, Bravo Luck,

and PAX (together, the “Genever Settlement Parties”), the Genever Settlement Parties executed a

settlement agreement (as amended, the “Genever Settlement Agreement”), that was eventually

approved by Judge Garrity, in amended form, pursuant to an order issued on October 8, 2021

[Genever Main Case Docket No. 141]. The Genever Settlement Agreement provided that the

PAX Relief from Stay Motion and PAX Conversion Motion would be resolved and that the

Sherry Netherland Apartment would be sold, with such sale to be overseen by a Sales Officer. 171




169
   Ex. 86, Joinder and Reservation of Rights of The Sherry-Netherland, Inc. with Respect to Pacific Alliance Asia
Opportunity Fund L.P.’s Motion for an Order under 11 U.S.C. § 1112(b) Converting the Debtors Case to a Case
Under Chapter 7 or, in the Alternative, for an Order under 11 U.S.C. § 1104(a) Appointing a Trustee to Administer
the Debtors Estate, at ¶ 2, In re Genever Holdings LLC, Case No. 20-12411-jlg (Bankr. S.D.N.Y.), ECF No. 45
(January 27, 2021).

170
      Id. at ¶ 4.

  Ex. 87, Second Amended Settlement, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No.
171

131-1 (September 24, 2021).


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            92.       The Genever Settlement Agreement also provided for relief from stay to allow

PAX to prosecute the State Court Action 172 and that “nothing in this Agreement shall prejudice

the rights of any Party, including Bravo Luck and PAX, from proceeding with any and all

claims, if any, against anyone, including Bravo Luck, [Kwok], [Kwok’s Son], or any of his or its

affiliates, and PAX or any of its affiliates, in BVI, State Court, or otherwise, and Bravo Luck and

PAX reserve all rights to oppose such claims in the applicable forum.” 173

            93.       As of the date of the filing of this Complaint, the Sales Officer continues to

oversee the sale process contemplated by the Genever Settlement Agreement.

            H.        In State Court Action, PAX Seeks Turnover of Shares of Genever BVI

            94.       On June 21, 2021, PAX filed a motion seeking the turnover of the shares of

Genever BVI owned by Kwok (the “Turnover Motion”). 174 PAX noted in the Turnover Motion

that Kwok had “belatedly produced” the Purported Trust Agreement, 175 that PAX would

demonstrate at the appropriate moment that the Purported Trust Agreement was a “fraudulent,

backdated document that is not worth the paper on which it was printed,” 176 and that “in four

years of litigation, Kwok never once dared raise this dishonest argument before this Court.”177


172
      Id. at ¶ 7.a.

173
      Id. at ¶ 7.b.

  Ex. 88, Notice of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.’s Motion for a Turnover Order Against
174

Defendant Miles Kwok and Appointment of a Receiver, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.),
NYSCEF Doc. No. 845 (June 21, 2021), Ex. 89, Memorandum of Law in Support of Plaintiff Pacific Alliance Asia
Opportunity Fund L.P.’s Motion for a Turnover Order Against Defendant Miles Kwok and Appointment of a
Receiver, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 846 (June 21, 2021).

175
    Ex. 89, Memorandum of Law in Support of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.’S Motion for a
Turnover Order Against Defendant Miles Kwok and Appointment of a Receiver, at 9, PAX v. Kwok, Index No.
652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 846 (June 21, 2021).
176
      Id. at 10.

177
      Id. (emphasis in original).


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        95.      On July 23, 2021, Kwok filed an objection to the Turnover Motion (the “Turnover

Objection”) on the grounds that it was an “end run around” of the contemplated State Court

Action trial on alter ego issues, the Genever US Chapter 11 Case, and the BVI Proceeding. 178 Of

note, Kwok never raised the Purported Trust Agreement in the Turnover Objection. Upon

information and belief, this is because Kwok and/or his counsel anticipated that the State Court

would recognize the document as fraudulent.

        96.      On September 22, 2021, the State Court held a hearing on the Turnover Motion,

at which hearing the State Court ruled in favor of PAX based on, among other things, Kwok’s

admission, in a December 4, 2020 interrogatory response signed by Kwok, that Kwok was “the

legal owner of the issued shares of [Genever BVI].” 179

        97.      On the same day, the State Court entered an order granting the Turnover Motion

(the “State Court Turnover Order”) and ordering Kwok to “take whatever steps are necessary in

the British Virgin Islands to turnover all share certificates with respect to his 100% ownership

interest in [Genever BVI].” 180

        98.      The State Court Turnover Order was conditioned on the approval of Justice

Adrian Jack of the BVI Court (who had previously issued a stay in the BVI Litigation). 181 On




  Ex. 90, Defendant Mr. Kwok Ho Wan’s Opposition to Motion for a Turnover Order Against Defendant Miles
178

Kwok and Appointment of a Receiver, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No.
874 (July 23, 2021)

  Ex. 91, Defendant Kwok’s Responses and Objections to Plaintiff Pacific Alliance Asia Opportunity Fund L.P.’s
179

Third Set of Interrogatories, at 9, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No. 756
(April 28, 2021).

  Ex. 92, Decision and Order on Motion, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc.
180

No. 904 (September 22, 2021).

  Ex. 93, Justice Adrian Jack’s Order, at 1, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc.
181

No. 1089 (January 7, 2022).


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December 8, 2021, Justice Jack entered an order modifying the stay issued in the BVI Litigation

to permit the transfer of the Genever BVI shares to PAX. 182

            99.    Consistent with his pattern of flouting court orders, however, Kwok never turned

over his shares in Genever BVI to PAX. 183 On January 7, 2022, PAX filed a motion seeking an

order of civil contempt against Kwok based on his failure to comply with the State Court

Turnover Order, which motion remained pending as of the commencement of the Kwok Chapter

11 Case on February 15, 2022.

            I.     Final Contempt Decision

            100.   On February 9, 2022, the State Court issued its decision imposing a $134 million

contempt fine upon Kwok based on the removal of the Lady May from the United States in

contravention of the State Court’s orders (the “Final Contempt Decision”).

            101.   While the Final Contempt Decision chiefly concerned issues related to the Lady

May, the State Court made a number of factual findings that are relevant to this Complaint.

Among other things, the State Court found that:

                   a)     Kwok had made “efforts to avoid and deceive his creditors by parking his
                          substantial personal assets with a series of corporations, trusted confidants,
                          and family members.” 184

                   b)     Kwok, “who is a self-declared multi-billionaire, had secreted his assets in
                          a maze of corporate entities and with family members.” 185




182
      Id.

183
    Eventually, the shares of Genever BVI would be transferred to the Trustee pursuant to this Court’s order dated
August 10, 2022 [Docket No. 717] (the “Corporate Governance Order”). Ex. 94, Corporate Governance Order, In re
Ho Wan Kwok, Case No. 22-50073 (JAM), ECF No. 717 (August 10, 2022)

  Ex. 95, Final Contempt Decision at 1, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.), NYSCEF Doc. No.
184

1181.

185
      Id.


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                   c)       Kwok’s use of corporate entities to shield assets from creditors was a
                            “scheme” that had “enabled Kwok to assert that he has no assets despite
                            his lavish lifestyle.” 186

                   d)       “[Kwok] . . . has utter contempt for this Court and the judicial process.” 187

                   e)        “The machinations associated with the shell game Kwok has orchestrated
                            with respect to the Lady May are of a piece with every other evasive and
                            contemptuous act Kwok has taken during the five years this litigation has
                            been pending, which is why there are 1,180 docket entries in this case.” 188

            J.     Kwok Continues His Shell Game in His Chapter 11 Case

            102.   In response to the issuance of the Final Contempt Decision, 189 on February 15,

2022 (the “Petition Date”), Kwok commenced his chapter 11 case by filing his chapter 11

petition [Main Case Docket No. 1] (the “Initial Petition”) and Official Form 104, titled “For

Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

Against You and Are Not Insiders” [Main Case Docket No. 4] (the “Top 20 Creditors List”)

(emphasis added).

            103.   Throughout the Kwok Chapter 11 Case, Kwok has continued his shell game of

using shell companies and family members to plead poverty while living in the lap of luxury.

            104.   In Kwok’s Initial Petition and in his amended chapter 11 petition filed on

February 23, 2022 [Main Case Docket No. 19] (the “Amended Petition” and, together with the

Initial Petition, the (“Petitions”)), Kwok, among other things, failed to disclose the pending




186
      Id.

187
      Id. at 4.

188
      Id. at 7.

189
    See, e.g., Ex. 23, Tr. of Telephonic 341 Meeting of Creditors at 15:21-16:1 (“[I]n mid-February in my second
trial . . . I was given a fine of $120 million and I was ordered to pay it off within five days. So without any choices --
so I filed bankruptcy application at Connecticut state and Chapter 11.”). Kwok has appealed the Final Contempt
Decision.


                                                           47
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Genever US Chapter 11 Case even though Genever US was his affiliate. 190 In response to the

Petitions’ instruction to disclose, “Where you live,” Kwok stated “c/o Golden Spring (New

York) Ltd” and inserted Golden Spring’s address. 191 Kwok also listed shell companies Golden

Spring and Lamp Capital as the only holders of undisputed claims on his Top 20 Creditors List

and amended versions thereof [Docket Nos. 10, 20].

                    i.     Kwok Denies Holding Assets or Earning Income

            105.      On March 9, 2022, Kwok filed his schedules [Main Case Docket No. 78] (the

“Schedules”) and statement of financial affairs [Main Case Docket No. 77] (“SOFA”). These

documents in particular, along with their associated global notes (the “Global Notes”) attached to

the SOFA, help encapsulate how Kwok has played his shell game in the Kwok Chapter 11 Case.

Among other things:

                      a)        Despite voluminous public evidence of Kwok’s wealth, including court
                                documents signed by Kwok under penalty of perjury, 192 the Schedules
                                reported that the total value of Kwok’s property was $3,850.00, as
                                compared with scheduled unsecured claims of $373,803,498.09, over $250
                                million of which consisted of the claims of PAX, with the remainder
                                including numerous claims related to securities fraud, defamation, and
                                sexual assault.

190
   Ex. 96, Amended Petition, at 3 (Petition Item 10), In re Ho Wan Kwok, Case No. 22-50073 (JAM), ECF No. 19
(February 23, 2022).
191
      Id. at 2 (Petition Item 5).

192
   See Ex. 33, Particular of Claims at ¶ 1 (describing Kwok as “high net worth individual”). See also Rolfoundation
Rule of Law Fund Live 2020/07/22 Mr. Guo Wengui live.” YouTube, July 22, 2020,
https://www.youtube.com/watch?v=6d-Jcq0wr7U (“Everyone knows that a while ago, I advised to my family fund
and our collaboration fund, and based on my decision, (we) purchased oil futures. Everyone knows that (we) made
almost less than a little less than $30 billion. At the time I told them, if money is made, 90% (of the profits) belong
to you; if money is lost, all belongs to me. Then all went in and 1 billion barrels (of oil futures) were bought. Now
the 1 billion barrels made a profit of $30 billion, and I made at least $3 billion, right?”) (based on informal
translation from Chinse audio); See VICE News, “Exiled Chinese Billionaire Uses YouTube to Wage a War on
Corruption, YouTube” (original air date on HBO, Nov. 15, 2017),
https://www.youtube.com/watch?v=LkOsgh5kcgQ (In this video, Kwok describes various of his assets, including
the Sherry Netherland Apartment (“I buy the apartment”), the Lady May (“my yacht”), the “most luxurious
apartment in London,” “two private jets,” and “hundreds of race cars”. Kwok also comments on his great wealth
generally, stating, “I have the wealthy life that everyone in the world dreams about,” and “I don’t have any material
needs anymore.”).

                                                          48
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                 b)       Kwok scheduled $0.00 of income, stating that: “[Kwok] does receive
                          support funded by family and companies controlled by family for housing,
                          household and living expenses. None of the funding related to housing,
                          household or living expenses is subject to any claim by the funding source
                          and all housing, household and living expense funding is without any
                          agreement or expectation to be repaid.”

                 c)       Kwok scheduled $0.00 of expenses, stating that: “all expenses of any kind
                          including housing, household and living, are funded by third party family
                          members or by companies they control. [Kwok] has no expenses for which
                          he is personally liable.”

                 d)       Kwok scheduled Golden Spring (his “family office”) as holder of secured
                          claims against Kwok of an unknown value based on certain litigation
                          funding agreements. As noted above, Kwok had previously listed Golden
                          Spring as holder of unsecured claims on his Top 20 Creditors List.

                 e)       In his SOFA, Kwok listed a number of parties as creditors who had
                          received transfers within the ninety days preceding the Petition Date, thus
                          admitting that Kwok, and not another party, had paid these creditors. 193
                          At the same time, however, in his Global Notes, Kwok took the position
                          that these payments were made by “family or companies controlled by
                          family” 194 and it appears that at least some of these payments were made
                          by Golden Spring and/or Lamp Capital, thereby confirming that Kwok
                          uses these entities as part of his shell game.

                 f)       Kwok stated he had “use and occupancy” of the Taconic Road Residence
                          that was owned by Greenwich Land, an LLC whose sole member is
                          Kwok’s purported spouse. Kwok stated that “related costs and expenses
                          associated with the Residence are paid directly by family and family-
                          controlled enterprises.” Relatedly, Kwok denied holding legal title to any
                          household goods and furnishings, electronics, or collectibles.




193
   See Ex. 97, Global Notes and Statements of Limitations, Methodology, and Disclaimers Regarding the Debtor’s
Schedules of Assets and Liabilities and Statement of Financial Affairs, In re Ho Wan Kwok, Case No. 22-50073
(JAM), ECF No. 77 (March 9, 2022), Page 21 of 25 (“Question # 6 - During the 90 days before you filed for
bankruptcy, did you pay any creditor a total of $600 or more”).

194
    Notably, Kwok disclosed payments in the 90-day period before the Petition Date made by his shell companies,
but refused to recognize the payments of such shell companies to pay for his living expenses as income. Kwok’s
apparent explanation for this discrepancy was that the 90-day payments were subject to certain litigation funding
agreements and were “reported because there is an expectation of repayment from any proceeds contingent upon the
resolution of the litigation.”


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                g)       Kwok stated he had “access to” the Sherry Netherland Apartment and
                         disclosed his ownership of Genever BVI, Genever BVI’s ownership of
                         Genever US, and Genever US’s ownership of the apartment. However,
                         Kwok took the position that he held his equity in Genever BVI in trust for
                         Bravo Luck, owned by Kwok’s Son, and asserted that Bravo Luck funded
                         the purchase of the apartment using funds that “came from entities owned
                         or controlled by Kwok’s Son and not from [Kwok].”

                h)       Kwok stated he “has use of automobiles, including luxury automobiles
                         and motorcycles” but that he “has no legal title to any vehicle of any
                         type,” and that “costs and expenses associated with such vehicles are
                         provided for directly by family and family-controlled enterprises.”

                i)       Kwok continued to assert that the Lady May was owned by HK USA and
                         refused to schedule the Lady May as an asset on the grounds that he had
                         appealed the Final Contempt Decision.

                j)       Kwok stated that the Hong Kong Restraint Order had frozen “HK$3.7
                         million of funds alleged to belong to [Kwok]” and “[a]s much as billions
                         more of funds and property, including real estate in Hong Kong, of
                         individuals and entities purportedly subject to Kwok’s ‘effective control.’”
                         Kwok stated that “[d]ue to the freezing/seizure of these assets, [Kwok]
                         does not include them in his estate,” despite the fact that the Hong Kong
                         Restraint Order does not necessarily divest Kwok of ownership of these
                         assets.

        106.    Elaborating on the story of Kwok’s alleged individual poverty amidst family

opulence, Kwok stated in his declaration filed on March 20, 2022 that:

                My family, and particularly my son, provides for my needs. Prior to the
                Petition Date, my son’s family office [Golden Spring] purchased, among
                many other things, my clothing, food, and sundries. I do not have access to
                a Golden Spring credit card or to a Golden Spring bank account. My
                family retains ownership of nearly everything I use, aside from my
                clothing and mobile phones. 195

        107.    According to Kwok, “Justice Ostrager [i.e., the State Court], PAX, and perhaps

others believe I have greater financial wherewithal than is reflected here and in my Schedules




  Ex. 98, Declaration of Mr. Ho Wan Kwok in Support of the Chapter 11 Case and Certain Motions, Docket No.
195

107 at ¶ 17.


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and Statements of Financial Affairs. The wealth they believe is mine, however, actually belongs

to my son, daughter, wife, and extended family, not me.” 196

            108.           Kwok also stated in his declaration filed on March 20, 2022 that he held “the

interest in the [Sherry Netherland Apartment] in trust for my son.” 197

            109.           At his section 341 meeting of creditors, Kwok stated that Bravo Luck was owned

by his son. 198

            110.           Upon information and belief, neither Kwok’s Son nor his daughter have ever held

gainful employment outside of Kwok’s shell companies.

            111.           The Schedules and SOFA list numerous creditors of Kwok. Upon information

and belief, such creditors of Kwok also hold alter ego claims against Genever BVI.

                     ii.      Shell Game Funds Kwok Chapter 11 Case and Lifestyle

            112.       Throughout the Kwok Chapter 11 Case, Kwok has continued to play his shell

game to ensure that, despite his condition as a chapter 11 debtor claiming no assets or income, he

can continue to live a luxurious lifestyle and benefit from expensive legal representation.

            113.       For example, Lamp Capital paid the $1 million retainer of Kwok’s initial

bankruptcy counsel, Brown Rudnick. 199 Kwok’s Son then paid the $100,000 retainer of Kwok’s




196
      Id. at ¶ 34.

197
      Id. at ¶ 17.

198
      Ex. 4, Tr. of Telephonic 341 Meeting of Creditors, dated April 6, 2022 at 13:21-23.

199
    This payment was made using the proceeds of a purported $1 million loan from Lamp Capital to Kwok that were
remitted directly from Lamp Capital to Brown Rudnick. See Application of the Debtor for Entry of an Order
Authorizing the Employment and Retention of Brown Rudnick LLP as Counsel for the Debtor, Docket No. 86, at ¶
17; Ex. 4, Tr. of Telephonic 341 Meeting of Creditors, dated April 6, 2022 at 49: 22-24. At his April 6, 2022
Section 341 meeting, Kwok testified that this loan was not in writing and that he did not know the terms of the loan,
why the money had been lent, or what the source of the money was. Id. at 49-51.


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subsequent bankruptcy counsel, Zeisler & Zeisler, which simultaneously serves as counsel to

Kwok’s Daughter and HK USA.

         114.     Meanwhile, Golden Spring, Lamp Capital, and Greenwich Land have funded

Kwok’s extravagant lifestyle. These expenses from the beginning of the Kwok Chapter 11 Case

are reflected in the monthly operating reports filed by Kwok for the reporting periods through

July 8, 2022, which report an aggregate amount of $583,655.00 paid by a “third party for the

benefit of the estate.”

         115.     Similarly, Kwok relied on Golden Spring as lender in connection with an $8

million DIP loan proposed in Kwok’s motion filed on March 22, 2022 [Main Case Docket No.

117]. This loan would have been made to the estate on an unsecured basis, subordinated to the

claims of Kwok’s pre-petition creditors, and without any administrative or priority repayment

rights. Id. Nevertheless, the record makes clear that Kwok intended to use a significant amount

of the funds to pay the professional fees of Brown Rudnick, counsel to the official committee of

unsecured creditors (the “Committee”), and numerous proposed “ordinary course” professionals

that included, among others, the law firm of Melissa Francis, Golden Spring’s general

counsel. 200

         116.     Kwok also attempted to use HK USA’s only asset, the Lady May, as a bargaining

chip to offer to creditors in exchange for broad plan releases. On April 10, 2022, Kwok filed a

proposed chapter 11 plan [Main Case Docket No. 197] (the “Proposed Plan”). Among other

things, the Proposed Plan contemplated that HK USA would donate the Lady May (for no

apparent consideration) to a creditor’s trust for the benefit of holders of allowed claims, and that


200
   See Ex. 99, Annex 1 to Motion of Debtor for Entry of an Order Authorizing (I) Employment and Payment of
Professionals Utilized in the Ordinary Course, (II) Payment of Prepetition Claims, and (III) Granting Related Relief
[Main Case Docket No. 119].


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broad releases would be extended to Kwok, Golden Spring and HK USA (together referred to as

the “Plan Funders”), and “all individuals and entities affiliated with the Plan Funders” (i.e.,

Kwok’s entire network of shell companies and individual family members). 201

                   iii.   Court Orders Appointment of Chapter 11 Trustee

            117.      On May 24, 2022, the Court held an evidentiary hearing on the issue of whether

to dismiss the Kwok Chapter 11 Case or appoint a chapter 11 Trustee, and on June 15, 2022, the

Court issued its decision ordering the appointment of a chapter 11 trustee [Main Case Docket

No. 465] (the “Trustee Appointment Decision”).

            118.      In the Trustee Appointment Decision, the Court found, among other things, that

“[Kwok] has demonstrated he can obtain millions of dollars in funds, including the

$8,000,000.00 that was the subject of the DIP Motion.” 202

            119.      The Court also noted the arguments of creditors that Kwok had “engaged in

multilayer transactions involving complicated corporate structures like Golden Spring, Genever

Holdings, Lamp Funding, and HK [USA] that make it difficult to identify and locate Kwok’s

assets.” 203 This “complexity of Kwok’s financial affairs and lack of independent managerial

oversight in this case warrants the appointment of a Chapter 11 trustee who can investigate,

identify, and locate Kwok’s assets for the benefit of creditors and the estate.” 204



201
   Ex. 100, Proposed Chapter 11 Plan of Ho Wan Kwok, at Art I.A.74, In re Ho Wan Kwok, Case No. 22-50073
(JAM), ECF No. 197 (defining “Plan Funders” as Golden Spring and HK USA); Id. at Art I.A.75 (defining “Plan
Funder Related Parties” as “:all individuals and entities affiliated with the Plan Funder”); Id. at Art I.A.90 (defining
“Released Parties” to include, among others “collectively [Kwok], the Plan Funders, the Plan Funder Related
Parties”).

202
   Ex. 101, Memorandum of Decision and Order Denying Motion to Dismiss Without Prejudice and Granting
Joinder to Motion for Appointment of Chapter 11 Trustee (June 15, 2022), Docket No. 465, at 13.
203
      Id. at 15.

204
      Id. at 16.


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                iv.        Kwok Attempts to Frustrate Trustee’s Investigation and Administration
                           of Estate to Protect Shell Game From Scrutiny

         120.     Since the appointment of the Trustee on July 8, 2022, Kwok has, despite his duty

to cooperate with the Trustee under section 521(a)(3) of the Bankruptcy Code, engaged in a

tireless effort to stymie the Trustee’s administration of Kwok’s chapter 11 estate and

investigation of Kwok’s assets and financial condition. Among other things, Kwok has:

                      a)      Sought relief from the order appointing the Trustee;

                      b)      Opposed the retention of the Trustee’s counsel;

                      c)      Opposed the Trustee’s corporate governance motion;

                      d)      Opposed the Trustee’s discovery efforts; and

                      e)      Appealed the Court’s rulings that denied Kwok’s motion for relief from
                              the order appointing the trustee and granted the Trustee’s corporate
                              governance motion.

         121.         In sum, since the Trustee’s appointment, hundreds of hours have been devoted to

dealing with Kwok’s “obstruct[ion] [of] the administration of this estate.” 205 Notably, this

obstruction has included Kwok’s opposition, based on the Purported Trust Agreement, to the

Trustee’s effort to take control of Genever BVI through the corporate governance order approved

by this Court on August 10, 2022 [Main Case Docket No. 717] (the “Corporate Governance

Order”), even though Kwok never raised the Purported Trust Agreement in opposition to PAX’s

Turnover Motion in the State Action, which similarly sought the surrender of Kwok’s shares of

Genever BVI.




205
   Ex. 102, Aug. 30, 2022 Tr.at 94:19-95:2 (“[A]ll the arguments that you have made has been to stop the trustee
from trying to do what the trustee is going to do. If you don’t like what the trustee does, then you can sue him. You
can do that. There’s a remedy. You have a remedy. You can sue him. But you are now obstructing the
administration of this estate that all the other creditors have been waiting to have administered.”).


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        K.       Claim of IRS

        122.     On August 10, 2022, the Internal Revenue Service (the “IRS”) filed its initial

proof of claim against Kwok [Claim No. 12-1]. On October 6, 2022, the IRS filed an amended

proof of claim against Kwok [Claim No. 12-2].

        L.       Commencement of Genever BVI Chapter 11 Case

        123.     On October 11, 2022, Genever BVI filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in this Court. 206

                                                FIRST CLAIM

               (Purported Trust Agreement is Backdated, Fraudulent Document)

        124.     The Plaintiff repeats and realleges the allegations contained in paragraphs 7-123.

        125.     Voluminous evidence discussed above demonstrates that the Purported Trust

Agreement is a fraudulent, backdated document and is therefore invalid, void, and

unenforceable. 207 Among other things:




206
   Unsecured creditors who were scheduled in the Kwok Chapter 11 Case or filed proofs of claims against Kwok in
the Kwok Chapter 11 Case were included in the Official Form 204, titled “Chapter 11 or Chapter 9 Cases: List of
Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders” [Genever BVI Docket No. 1] filed in
the Genever BVI Chapter 11 Case (and Genever BVI reserves all rights in regard to such claims).

207
    See e.g. JPMorgan Chase Bank v. Kalpakis, 30 Misc. 3d 1236(A), 927 N.Y.S.2d 816 (Sup. Ct. 2011), aff'd sub
nom. JP Morgan Chase Bank, Nat. Ass'n v. Kalpakis, 91 A.D.3d 722, 937 N.Y.S.2d 105 (2012) (“It is . . . well settled
that deeds and encumbrances that are forged or executed under false pretenses are the result of fraud in the factum
(a/k/a fraud in the execution) and are void ab initio.)”; E & H Partners v. Broadway Nat. Bank, 39 F. Supp. 2d 275,
286 (S.D.N.Y. 1998) (“Falsified documents are the same as no documents at all.”); Mota v. Imperial Parking
Systems, 08 Civ. 9526, at *30 (S.D.N.Y. Aug. 24, 2010) (“Under [New York] State law and general contract law, a
forged signature renders a contract void ab initio.”) Gorzkowski v. Mod. Gas Sales, Inc., No. 163 MDA 2015, 2015
WL 6871135, at *2 (Pa. Super. Ct. Nov. 6, 2015) (“this court found the backdated stock certificates to be invalid”);
U.S. Bank Nat'l Assn. v. Naifeh, 1 Cal. App. 5th 767, 778, 205 Cal. Rptr. 3d 120, 128 (2016), as modified on denial
of reh'g (Aug. 17, 2016)(“Substantial evidence supported the conclusion that the recorded documents were void or
voidable due to fraud . . . .”).


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                 a)     The Purported Trust Agreement was allegedly dated February 17, 2015,
                        prior to even the initial submission of the Purchase Application with
                        respect to the Sherry Netherland Apartment, the asset that is the key
                        subject of the Purported Trust Agreement. Further, the Purported Trust
                        Agreement states the address of Genever US as the Sherry Netherland
                        Apartment, which could not have been the case at that time because the
                        apartment had not yet been acquired.

                 b)     In June 2016, well more than a year after the Purported Trust Agreement
                        had been allegedly executed, Kwok’s representatives inquired with the
                        Sherry Netherland regarding a transfer of the Sherry Netherland
                        Apartment to Kwok’s Son through a trust (i.e., exactly the type of trust
                        arrangement exemplified by the Purported Trust Agreement). These
                        inquiries would have made no sense if the Purported Trust Agreement had
                        in fact existed.

                 c)     The Purported Trust Agreement was never once mentioned or raised, by
                        Kwok or anyone else during the over four years between (i) its alleged
                        execution date on February 17, 2015 and (ii) the date it was disclosed on
                        April 22, 2019, despite numerous instances when it should have logically
                        been disclosed, such as:

                                (1)    When Kwok applied to purchase the Sherry Netherland
                                       Apartment.

                                (2)    When Kwok received PAX’s requests for production in the
                                       State Court Action.

                                (3)    When Kwok repeatedly argued that the Sherry Netherland
                                       Apartment could not be attached because it was subject to
                                       pledges or was owned by a third party (Zhang Wei).

                                (4)    When Kwok was repeatedly asked questions at his
                                       deposition regarding his interest in transferring the Sherry
                                       Netherland Apartment to his son.

                 d)     There is a voluminous record, including as discussed in this Complaint,
                        regarding Kwok’s use of shell companies to shelter assets from creditors,
                        as well as numerous misrepresentations and false and contradictory
                        statements by Kwok and his representatives.

       126.      Therefore, the Plaintiff seeks a ruling, pursuant to Federal Rule of Bankruptcy

Procedure 7001(9), declaring that the Purported Trust Agreement is invalid, void, and

unenforceable.



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                                                  SECOND CLAIM

                                 (Avoidance of Actual Fraudulent Transfer)
                                (Asserted in the alternative to the First Claim)

            127.     The Plaintiff repeats and realleges the allegations contained in paragraphs 7-123.

            128.     In the alternative, in the event that the Purported Trust Agreement is ruled to be

valid and to have resulted in Bravo Luck becoming beneficial owner of the equity of Genever US

(and depriving the Plaintiff, sole member of Genever US, of such interest), the Plaintiff asserts a

claim of actual fraudulent transfer against Bravo Luck pursuant to Section 276 of the New York

Debtor and Creditor Law, 208 made applicable by section 544 of the Bankruptcy Code. 209

            129.     The Purported Trust Agreement contains a choice of law clause stating that the

Purported Trust Agreement shall be governed by the law of the State of New York.

            130.     The analysis of a debtor’s intent to hinder, delay, or defraud under New York law

is identical to the analysis under section 548 of the Bankruptcy Code. 210 A claim of actual intent

to defraud under section 548(a)(1)(A) of the Bankruptcy Code requires allegations that the

debtor-transferor made a transfer or incurred an obligation with “actual intent” to “hinder, delay

or defraud” a past or future creditor. 211

            131.     “Because of the difficulty in proving actual intent to hinder, delay, or defraud in

208
      This was the New York statute effective on the date of the transfer.

209
   Genever BVI seeks the avoidance of, not only any conveyance of property by Genever US pursuant to the
Purported Trust Agreement (in the event it is held to be valid), but also any obligation incurred by Genever US
pursuant to the Purported Trust Agreement. See N.Y. Debt. & Cred. Law § 276 (McKinney) (“Every conveyance
made and every obligation incurred with actual intent, as distinguished from intent presumed in law, to hinder,
delay, or defraud either present or future creditors, is fraudulent as to both present and future creditors.”) (emphasis
added).

210
    In re Combes, 382 B.R. 186, 193-94 (Bankr. E.D.N.Y. 2008) (“The analysis of the debtor’s intent to hinder,
delay, or defraud under [section] 548 of the Bankruptcy Code and under New York law is identical.”). The debtor-
transferor’s intent is at issue in such claims, not the transferee’s. In re LXEng LLC, 607 B.R. 67, 91 (Bankr. D.
Conn. 2019).

211
      In re Integrity Graphics, Inc., 623 B.R. 21, 29-30 (Bankr. D. Conn. 2020).


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making its case, a party can rely on the ‘badges of fraud,’ which are ‘circumstances so

commonly associated with fraudulent transfers that their presence gives rise to an inference of

intent.’” 212

            Examples of ‘badges of fraud’ include, inter alia: (1) concealing facts and false
            pretenses; (2) an unconscionable discrepancy in consideration received in
            exchange for the value of the property transferred; (3) creating a closely-held
            corporation for property receipt; (4) closeness in relationship between the parties;
            (5) retaining the property in question for benefit or use; (6) the financial condition
            of the transferor and transferee both before and after the transfer(s); (7) repeated
            patterns or cumulative effect of courses of conduct post-insolvency or financial
            troubles; and (8) the timeline of events. . . The transfer of property to a spouse is a
            ‘classic’ badge of fraud. . . . Asset shifting to different corporate entities wholly
            owned or ‘so closely assimilated’ by the debtor is an additional badge of fraud. 213

            132.     The facts discussed in this Complaint establish the following sequence of events,

assuming the validity of the Purported Trust Agreement and that it resulted in Bravo Luck

becoming beneficial owner of Genever US.

                     a)       On February 17, 2015, Genever BVI, pursuant to the Purported Trust
                              Agreement, effectively transferred its equity interest in Genever US to
                              Bravo Luck. Genever BVI executed the Purported Trust Agreement in
                              anticipation of the acquisition of the Sherry Netherland Apartment by
                              Genever US and for the purpose of ostensibly allowing Kwok’s Son,
                              through Bravo Luck, to own the Sherry Netherland Apartment.

                     b)       On March 6, 2015, Genever US acquired the Sherry Netherland
                              Apartment, and, thus, Bravo Luck, as beneficiary under the Purported
                              Trust Agreement, effectively acquired the Sherry Netherland Apartment.

            133.     Under this fact pattern, Genever BVI transferred the entire value Genever US

(and, hence, of the Sherry Netherland Apartment) to Bravo Luck and did not receive

consideration in exchange for such transfer.

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   In re Jie Xiao, 608 B.R. 126, 157 (Bankr. D. Conn. 2019); see also In re Andersen, 166 B.R. 516, 529 (Bankr. D.
Conn. 1994) (“In recognition of that reality, courts have held that fraudulent intent may be inferred from the
circumstances surrounding the transfer. Indirect evidence of fraud may consist of the circumstances of the transfer
and the conduct and action of the parties to the alleged fraudulent transfer with respect to the possession,
management and control of the premises.”) (emphasis added).

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      In re Jie Xiao, 608 B.R. at 157.


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       134.    The facts discussed in this Complaint demonstrate numerous of the badges of

fraud commonly associated with fraudulent transfers. These include, among others:

               a)      “Concealing facts.” Kwok never disclosed the Purported Trust Agreement
                       until April 2019 and in fact took a series of positions inconsistent with the
                       Purported Trust Agreement, including that he was purchasing the Sherry
                       Netherland Apartment himself.

               b)      “An unconscionable discrepancy in consideration received in exchange for
                       the value of the property transferred.” The Purported Trust Agreement
                       resulted in Genever BVI transferring a $70 million interest in Genever US
                       (base on the value of the apartment) to Bravo Luck without receiving any
                       consideration in return.

               c)      “Creating a closely-held corporation for property receipt” and “closeness
                       in relationship between the parties.” The Purported Trust Agreement
                       resulted in a transfer to Bravo Luck, an entity controlled by Kwok.

               d)      “Retaining the property in question for benefit or use.” Kwok retained
                       control of Genever US until the Trustee obtained control of Genever US
                       pursuant to the Corporate Governance Order. Upon information and
                       belief, Kwok has used the Sherry Netherland Apartment as his residence
                       since 2015.

       135.    Kwok’s fraudulent conduct in this instance is consistent with his modus operandi,

as found by the State Court, of using shell companies to hold assets out of the reach of creditors:

Bravo Luck is where Kwok keeps his Manhattan apartment; HK USA is where Kwok keeps his

150-foot yacht; Greenwich Land is where Kwok keeps his Connecticut mansion; and so forth.

Meanwhile Golden Spring and Lamp Capital fund Kwok’s enormous living expenses and legal

fees. This is the recipe for Kwok’s life as a “penniless” billionaire.

       136.    At all relevant times, Genever BVI was indebted to one or more of Kwok’s

creditors as an alleged alter ego of Kwok. Such creditors of Genever BVI could have pursued

the relief sought in this Complaint by the Plaintiff in exercise of such creditors’ rights.

       137.    At all relevant times, creditors of Genever BVI (as an alleged alter ego of Kwok)

would have had no reason to suspect that the Purported Trust Agreement existed or that Genever


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BVI (controlled by Kwok) had used the Purported Trust Agreement to effectuate a fraudulent

transfer.

        138.   Accordingly, assuming that the relief requested in the First Claim is not granted,

the Plaintiff seeks a ruling, pursuant to Section 276 of the New York Debtor and Creditor Law,

sections 544 and 550 of the Bankruptcy Code, and Federal Rule of Bankruptcy Procedure

7001(9), (1) declaring the Purported Trust Agreement invalid and (2) avoiding any transfer of

Genever BVI’s property or any incurrence of any obligation by Genever BVI that occurred

pursuant thereto.

                                    PRAYER FOR RELIEF

        WHEREFORE, for the foregoing reasons, the Plaintiff respectfully requests that

judgment be entered as follows:

        1.     On the First Claim, an order declaring, pursuant to Federal Rule of Bankruptcy

        Procedure 7001(9), that the Purported Trust Agreement is invalid, void, and

        unenforceable;

        2.     On the Second Claim, an order (1) declaring, pursuant to the Section 276 of the

        New York Debtor and Creditor Law, sections 544 and 550 of the Bankruptcy Code, and

        Federal Rule of Bankruptcy Procedure 7001(9), that the Purported Trust Agreement is

        invalid and (2) avoiding any conveyance of Genever BVI’s property or any incurrence of

        any obligation by Genever BVI that occurred pursuant to the Purported Trust Agreement;

        3.     Reasonable attorneys’ fees, costs, and expenses incurred in this action; and

        4.     Such other and further relief as the Court may deem just, proper, or equitable

        under the circumstances.

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Dated:    December 23, 2022
          New Haven, Connecticut

GENEVER HOLDINGS CORPORATION

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